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                                 IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 SODEXOMAGIC, LLC                                                              CIVIL ACTION

               v.                                                              NO. 16-5144

 DREXEL UNIVERSITY

                      MEMORANDUM RE: MOTIONS FOR SUMMARY JUDGMENT
                                AND MOTIONS TO STRIKE

Baylson, J.                                                                                                            August 2, 2018



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      I.      Introduction

           At its core, this case concerns a breakdown in business relations between a large, private

university and its dining services vendor, with which it had a multimillion-dollar, long-term

contract.

        The case began with Plaintiff SodexoMAGIC, LLC (“Sodexo”) filing a four-count

complaint alleging: (1) fraudulent inducement; (2) breach of contract; (3) unjust enrichment; and

(4) punitive damages.        Since then, Defendant Drexel University (“Drexel”) asserted two

counterclaims against Sodexo for, (1) fraud, and (2) breach of contract, and Sodexo added one

supplemental claim to its original allegations (“Count V”) for breach of contract. Accordingly,

there are now five claims alleged against Drexel and two counterclaims alleged against Sodexo.

The case has featured various motions to dismiss, motions to compel, attorney-client privilege

disputes, and motions for sanctions—among many other motions—which have been extensively

litigated and decided by this Court in prior opinions (or held in abeyance pending further

developments), and will not be restated here.

        Presently before the Court are four motions:

              (1) Drexel’s Motion to Strike seeks to strike four declarations submitted by Sodexo in
                  support of its Response to Drexel’s Statement of Undisputed Material Facts.
                  (ECF 208).
              (2) Sodexo’s Motion to Strike seeks to strike Drexel’s Appendix to its Motion for
                  Summary Judgment. (ECF 221).
              (3) Sodexo’s Motion for Summary Judgment seeks a ruling that, as a matter of law,
                  dismisses Counts I and II of Drexel’s Counterclaim for fraud and breach of
                  contract, and enters judgment in favor of Sodexo as to Sodexo’s Count V. (ECF
                  200).
              (4) Drexel’s Motion for Summary Judgment seeks to dismiss all five Counts brought
                  by Sodexo. (ECF 220).


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     II.     Factual Background

                (A) The Parties

        Plaintiff SodexoMAGIC is a Delaware limited liability company with its principal place

of business in Maryland. (ECF 211 ¶ 1). SodexoMAGIC is a joint venture between Sodexo

Operations, LLC, a wholly-owned subsidiary of Sodexo, Inc., and Magic Food Provisions, LLC,

a wholly-owned subsidiary of Magic Johnson Enterprises. (ECF 213, at 1 n. 1). Defendant

Drexel University is a Pennsylvania non-profit institution based in Philadelphia. (ECF 211 ¶ 2).

Marriott Management Services Corp., which was subsequently acquired by Sodexo

Management, Inc., began providing dining services at Drexel in 1995. (ECF 11 ¶ 5; ECF 213 ¶

18). Dining services generally consisted of managing and operating student and faculty dining

halls and retail locations and catering University meetings, events, and functions. (Id. ¶ 19).

                (B) The Bid Process

        On April 18, 2014, Aramark Corp. (“Aramark”), a dining services competitor of Sodexo

Management, Inc. (see ECF 211 ¶ 4), approached Drexel with an unsolicited proposal to provide

dining services at Drexel. (Id. ¶ 6). The operative contract then in place between Drexel and

Sodexo Management, Inc., was not due to expire until 2018. (Id. ¶ 7). Nevertheless, following

Aramark’s proposal, which included an offer to invest $14.5 million in Drexel’s campus, Drexel

terminated its contract with Sodexo Management, Inc., and began a process of putting their

dining services contract out to bid in June, 2014. (Id.).

        Drexel’s dining services bidding process occurred in two phases. (Id. ¶ 8). On June 9,

2014, as part of the first phase, Drexel distributed a Request for Proposal Qualification Overview

(also knowledge as a Request for Information, or “RFI”) to five companies to qualify the firms

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with the best chance to compete for the contract. (Id. ¶ 9). The RFI sent to potential bidders

asked responding firms, among other things, to “commit a minimum of $20M over the 10 year

agreement with $12M paid up-front.” (Sodexo SOF, Ex. 9). The RFI estimated the contract

value “to be between $275M and $300M over the term,” but made clear “this is strictly an

estimate based on past performance and is in no way to be misconstrued as a firm commitment.”

(Id.).

         As part of the second phase, following a determination of which companies responded

favorably to the RFI, Drexel distributed a Request for Proposal (“RFP”) on July 2, 2014 to four

companies that remained in contention for the dining services contract. (Id. ¶ 9). Among the

four companies remaining in contention were Aramark and SodexoMAGIC. (Drexel SOF, Ex.

3-8). The RFP stated that “The University’s Strategic Plan calls for an enrollment increase from

our current number of 26,132 to 30,470 students by 2017 and to 34,000 students by 2021.”

(Sodexo SOF, Ex. 14). The RFP continued, “[p]roposed programs, facilities and infrastructure

of services should be aligned to this plan.” (Id.). The RFP made clear that “traditional meal

plans (aka residential, ‘all-inclusive,’ board plans, etc.) are required for residential freshmen and

may be purchased on a voluntary basis by all other students and customers.” (Id.).

         In an appendix to the RFP, Drexel projected the number of dining services participants

who would purchase a variety of meal plans, with projections “based on information available at

time of budget submission.” (Id., Ex. 14, at App’x. II). Drexel calculated the estimated number

of meal plans based on an assumption of 3,100 students in the freshman class. (Resp. to Sodexo

SOF ¶ 18; Sodexo SOF, Ex. 16 (Email from Drexel representative stating, “we gave the bidders

participant numbers based on a freshman class of 3,100 and the FY budget that was loaded by

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Finance is based on 2,800.”).

         In a pre-proposal meeting Drexel held separately with Sodexo and other bidders in July,

2014, Drexel informed the prospective bidders via PowerPoint presentation that the University’s

“Strategic Growth Plan” was to:

                [g]row enrollment commensurate with student demand and
                academic capacity, initially by adding graduate and transfer
                students, and then, after a three-year period, gradually growing
                subsequent undergraduate freshman classes. By 2017, Drexel will
                increase enrollment from our current number of 23,500 to 30,470
                students; by 2021, Drexel will increase to 34,000 students.

(Sodexo SOF, Ex. 11).

         The PowerPoint presented to the prospective bidders also stated that the “Strategic

Growth Plan” was to:

                Grow enrollment commensurate with student demand and
                academic capacity, initially by adding graduate and transfer
                students, and then, after a three-year period, gradually growing
                subsequent undergraduate freshman classes.

(Id.).

         Sodexo submitted its Initial Proposal for the dining services contract to Drexel on July

25, 2014. (Id., Ex. 19). Sodexo’s Initial Proposal stated:

                The financial terms set forth in this proposal and other obligations
                assumed by SodexoMAGIC herein are based on conditions in
                existence on the date SodexoMAGIC commences operations,
                including, by way of example, Client’s attendance history; labor;
                food and supply expenses; and federal, state and local sales, use
                and excise taxes. In addition SodexoMAGIC has relied on
                representations regarding existing and future conditions made by
                [Drexel] in connection with the negotiation and execution of the
                proposal. In the event of a change in the conditions or the
                inaccuracy or breach of, or the failure to fulfill, any representation
                by [Drexel], the financial terms and other obligations assumed by

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                 SodexoMAGIC shall be renegotiated on a mutually agreeable basis
                 to reflect such change, inaccuracy or breach.

(Id.).

         On August 6, 2014, Drexel asked Sodexo and Aramark to each submit a Best and Final

Offer (“BAFO”). (Resp. to Sodexo SOF ¶ 24). On August 8, 2014, Sodexo submitted its

BAFO.      (Id. ¶ 25).   On August 12, 2014, Drexel’s Campus Dining Selection Committee

unanimously selected (9-0) and recommended awarding Sodexo the campus dining contract.

(Sodexo SOF Ex. 21). On August 15, 2014, Drexel sent a letter to Sodexo, which stated, among

other things:

                 I am pleased to tell you that SodexoMAGIC has been awarded the
                 campus dining contract.        The award includes all financial
                 components of the original SodexoMAGIC proposal submitted as
                 well as all enhancements included in the Best and Final Offer
                 (“The Proposal”). Beginning August 25, 2014, Drexel University
                 proposes to reinstate the contract currently in effect and
                 incorporate The Proposal as an amendment while a new agreement
                 is negotiated during a period not to exceed 60 days.

(Id., Ex. 22).

                 (C) Reaching the Terms of the Management Agreement

         From this stage onwards, the principal negotiators of the Management Agreement were,

on behalf of Drexel, Rita LaRue, Don Liberati, Stacey Kara, Melissa Brown, and Paula King (id.

¶ 31); and on behalf of Sodexo, Nancy Arnett and Rush Sherman. (Id. ¶ 32).

         On September 12, 2014, Sodexo sent to Drexel a first proposal for the terms of the

Management Agreement, and then, on September 19, 2014, Sodexo sent to Drexel a first draft of

the comprehensive Management Agreement. (Resp. to Sodexo SOF ¶¶ 30, 33). On September

30, 2014, LaRue (of Drexel) wrote to Sherman (of Sodexo): “We received the draft master

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agreement . . . . I do have to say that there are several inconsistencies and/or omissions from the

SodexoMagic proposal and best and final offer that my team is having to check, revise and add .

. . .” (Sodexo SOF, Ex. 25).

        As negotiations proceeded, Arnett (of Sodexo) wrote an internal email to Sodexo listing

three “potential stumbling blocks”:

                 1. Indemnity . . .
                 ...
                 2. Meal Plan Rates . . .
                 ...
                 3. Financial Assumptions: In the RFP and presentations, Drexel
                 provided specific student enrollment goals and suggested that
                 bidders should take these into consideration when preparing a
                 financial proposal. We included these assumptions to act as a
                 trigger for discussion and mutually agreeable modification to the
                 contract in the financial assumptions section – however [LaRue]
                 violently objected to any kind of mention of specific numbers. She
                 expressed that these were goals only and were never intended to be
                 anything that we could count on. . . . I stressed that the numbers are
                 not included as a guarantee on Drexel’s part, but rather a baseline
                 to trigger a conversation. Went over like a lead balloon. We left it
                 that I would ask legal to take another pass at the language and they
                 would see, but she told me that she would not take any type of
                 specific numbers to her leadership.
                 ...
                 I think that finance should prepare a cast of numbers at their
                 proposed meal and potentially lower student population rate to
                 better judge the overall [year-over-year] impact of any reductions
                 to Sodexo.

(Id., Ex. 27).

        Ultimately, the parties agreed to the Management Agreement, the most relevant sections

of which are excerpted below:

                 3.1    Term and Termination.

                        A.      The term of the Agreement is ten (10) years, ten

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     (10) months, and five (5) days [] commencing [retrospectively] on
     August 25, 2014 and continuing until June 30, 2025.
     ...
             B.      If either party breaches a material provision hereof
     (“Cause”), the non-breaching party shall give the other party notice
     of such Cause. If the Cause is remedied within ten (10) days in the
     case of failure to make payment when due or thirty (30) days in the
     case of any other Cause, the notice shall be null and void. If such
     Cause is not remedied within the specific period, the party giving
     notice shall have the right to terminate this Agreement . . . .
             C.      Either party may terminate this Agreement at any
     time upon sixty (60) days’ prior written notice to the other party.
     ...
     8.15 Campus Visits by Earvin “Magic” Johnson. Mr. Johnson
     shall appear on [Drexel’s] campus (or mutually agreed upon
     location) as mutually agreed by the parties for up to two (2) 90-
     minute speaking engagements annually during the term of this
     Agreement provided that the appearance dates can be mutually
     agreed upon by the parties. At the time of the request, [Drexel]
     shall propose a minimum of three (3) dates for consideration and
     approval subject to Mr. Johnson’s availability and provide a
     proposed agenda for Mr. Johnson’s review and consideration. Any
     such request shall be made a minimum of twelve (12) weeks in
     advance.
     ...
     8.17 Measurable Outcomes.              SodexoMAGIC shall be
     evaluated using mutually agreed upon Key Performance Indicators
     (KPIs) set forth in Exhibit J which shall be used to monitor
     SodexoMAGIC performance and [Drexel] patron satisfaction. The
     KPIs shall be reviewed annually by the parties during the Annual
     Business Review . . . .
     ...
     9.1     Changes in Policies and Practices. The financial terms
     set forth in this Agreement and other obligations assumed by
     SodexoMAGIC hereunder are based on conditions in existence on
     the date SodexoMAGIC commences operations, including by way
     of example, [Drexel’s] student population; labor, food, and supply
     costs; and federal, state and local sales, use and excise tax. In
     addition, each party has relied on representations regarding
     existing and future conditions and projections made by the other in
     connection with the negotiation and execution of this Agreement.
     In the event of a change in the conditions or the inaccuracy or
     breach of, or the failure to fulfill, any such representation by a

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     party, the financial terms and other obligations assumed by the
     other party shall be renegotiated on a mutually agreeable basis to
     reflect such change, inaccuracy or breach. SodexoMAGIC shall
     submit any requested changes and the cause for such changes to
     [Drexel], in writing, prior to any negotiations.

     9.2     Financial Assumptions.         In the interest of a strong and
     lasting partnership, [Drexel] agrees to review the following items
     with SodexoMAGIC at the annual meeting in July of each year and
     discuss any applicable revisions to the Agreement that are
     mutually agreeable based on any deviations, provided that the
     relevant data and supporting documentation is submitted to
     [Drexel] thirty (30) days in advance of the meeting. [Drexel]
     recognizes that SodexoMAGIC made certain assumptions in
     preparing the financial package offered in this Agreement and
     understands that changes to the financial assumptions below may
     have an adverse economic impact on SodexoMAGIC; in such
     cases, [Drexel] shall work with SodexoMAGIC in good faith to
     mutually agree upon solutions in an effort to counter such impact.
     SodexoMAGIC acknowledges its responsibility to respond quickly
     and expertly to factors under their control that may affect these
     outcomes.
         • ...
         • Parties agree that the University’s growth is a critical factor
             in calculating the Investments afforded under this
             Agreement and it has been projected by SodexoMAGIC
             that this growth will realize an increase of 2% per year in
             the freshman class year over year. . . .
         • ...
         • Minimum Catering Net Sales of Three Million Four
             Hundred Thousand Dollars ($3,400,000) in full Contract
             Year 1 (July 1, 2015 through June 30, 2016) with projected
             growth of three percent (3%) annually thereafter.
     ...
     10.11 Amendments to Agreement. All provisions of this
     Agreement hereto shall remain in effect throughout the term
     thereof unless the parties agree, in a written document signed by
     both parties, to amend, add or delete any provision. This
     Agreement contains all agreements of the parties with respect to
     matters covered herein, superseding any prior agreements, and may
     not be changed other than by an agreement in writing signed by the
     parties hereto. This Agreement shall inure to and bind all parties,
     their successors and assigns.
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                10.12 Collection Costs and Costs to Enforce Indemnity
                Obligations. The parties shall pay each other the reasonable
                collection expenses, attorneys’ fees and court costs incurred in
                collecting from each other any amount not paid when due, and/or
                in connection with the enforcement of an indemnity obligation of a
                party under this Agreement.

(Id., Ex. 1).

        The parties executed the Management Agreement, which is dated May 21, 2015, in late-

May, 2015. (Drexel Resp. to Sodexo SOF ¶ 40).

                (D) Freshman Enrollment Declines

        Incoming freshmen for the 2015-2016 academic year had an “unofficial” deadline of May

1, 2015 for accepting offers to attend Drexel. (Id. ¶ 46). A set of “talking points” for a Drexel

Board of Trustees meeting sent on May 11, 2015 stated that “[m]uch of what we expected, given

changes we’ve made in our approach to recruiting and enrolling new students, has come to

fruition,” including “fewer applications,” and “fewer offers of admission.” (Sodexo SOF, Ex.

34). At that point in time, Drexel had “2,902 deposits for the freshman class,” which, after

“melt” (expected declines based on students’ changes in circumstances and choice of college)

would be expected to yield somewhat fewer freshman enrollees. (Id.). In fact, that email stated,

“[t]he adjusted budget is predicated on a class of 2,600, but we believe we are likely to do better

than that due to lower melt.” (Id.).

        On June 8, 2015, President Fry of Drexel issued a “Dear Colleague” letter disclosing that

Drexel would not enroll additional students from the waitlist and that the freshman class would

be smaller than in prior years. (Sodexo SOF Ex. 33). The next day, Sodexo employee William

Cunningham emailed, among others, LaRue (of Drexel), forwarding President Fry’s “Dear

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Colleague” letter and stating, “[t]he message below looks like there will be budget tightening and

less mandatory dining plan customers for next year. Have you gotten any update as to what next

year’s actual first year student enrollment with [sic] be?” (Id. Ex. 36). LaRue forwarded the

email to Liberati (of Drexel), who responded: “I guess they were going to find out sooner or

later…” (Id.). LaRue later responded to Sodexo’s original email, stating, “Currently, there are

2,918 freshmen admitted. It will be less with melt, potentially 2,600-2,700 but the rate of melt is

challenging to predict.” (Drexel SOF Ex. 3-20). Drexel’s freshman enrollment for the 2015-

2016 academic year was 2,720. (Sodexo Resp. to Drexel SOF ¶ 103).

               (E) Sodexo Misses Profit Projections

       On November 4, 2015, Sodexo’s Jeff Hunt stated that the gross project margin for the

Management Agreement, initially “projected at 13.9% year 1 and 9.4% year 2,” constituted

“miss[ed] profit projections,” because “[y]ear 1 actual (FY 2015) was 3.2% and year 2 projected

(FY 2016 budget) is 6.2%.” (Id., Ex. 40). Two days later, by email dated November 6, 2015,

Hunt instructed Sodexo’s Chris Elliott to “set a timetable for contract restructuring” because the

gross profit margin that Sodexo’s Drexel account was generating did not meeting projections.

(Sodexo Resp. to Drexel SOF ¶ 105).

       In a meeting held on November 18, 2015, Sherman (of Sodexo) told LaRue (of Drexel)

that Sodexo was experiencing a year-to-date “shortfall of $664,436 in mandatory meal plans”

against Sodexo’s budget and a “FY16 shortfall, against SodexoMAGIC budget, [of]

$2,120,523.” (Drexel SOF, Ex. 3-24).

       After several more discussions between the parties over the ensuing months (see Sodexo

Resp. to Drexel SOF ¶¶ 108-112; Sodexo SOF ¶¶ 54-56), Sodexo sent Drexel a letter proposal

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on June 28, 2016, seeking to change the Management Agreement, which included terms

increasing meal rates, hours of operation, and compensating Sodexo for “shortfalls in mandatory

boarders and contractual catering.” (Drexel SOF, Ex. 3-26). By letter dated July 19, 2016,

Drexel stated its willingness to accept many of the terms in Sodexo’s letter, while submitting

counterproposals on other terms. (Sodexo Resp. to Drexel SOF ¶ 114).

                (F) Contract Termination

        On September 19, 2016, Drexel notified Sodexo by letter that it was terminating the

Management Agreement for convenience, pursuant to section 3.10(C), effective December 10,

2016. (Drexel Resp. to Sodexo SOF ¶ 67; ECF 130-1). The letter also offered to pay Sodexo a

daily rate of $22.44 and accept a reduced commission of 7.75% for the fall term if Sodexo

agreed to remain on campus through December 10, 2016. (Sodexo Resp. to Drexel SOF ¶ 124).

Sodexo responded by letter dated September 26, 2016, stating that it was exercising its “right to

terminate the Agreement for Cause effective at the end of today,” and that it “intended to end the

cure period at the close of business . . . effective at the end of today.” (ECF 130-9). 1 Sodexo

also stated that it would “[agree] to remain on campus through December 10, 2016” and that it

“does not leave students in mid-term.” (Id.).

        The next day, September 27, 2016, Sodexo filed the present lawsuit. (See ECF 1).

Sodexo provided dining services to Drexel’s students through December 10, 2016. (Drexel

Resp. to Sodexo SOF ¶ 90). Drexel did not pay an increased daily rate or charge Sodexo a

reduced commission for Sodexo’s dining services rendered through December 10, 2016. (Id.).

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  Between the time of the two letters, on September 23, 2016, Drexel awarded the dining services contract
to Aramark. (Drexel Resp. to Sodexo SOF ¶ 68). Drexel’s freshman enrollment increased to
approximately 3,260 students (a 40% increase) in the 2017-2018 academic year. (Sodexo Resp. to Drexel
SOF ¶ 130).
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    III.     Motions to Strike

                (A) Drexel’s Motion to Strike

        Drexel seeks to strike three declarations submitted by Sodexo in support of its response to

Drexel’s statement of undisputed facts. Drexel bases its motion on the “sham affidavit” doctrine,

asserting that portions of the declarations directly contradict prior deposition testimony which

was explicitly adopted as Sodexo’s corporate representations. In response, Sodexo contends that

the declarations elucidate, rather than contradict, prior testimony: Whereas prior testimony

pertained to statements about Drexel being unable to predict future student enrollment, the

declarations in question explain that Drexel did not make any statement that it knew enrollment

would decline. In its reply, Drexel contends that it had no duty to disclose its knowledge of

future enrollment figures, and therefore, because the declarations largely pertain to the extent of

Drexel’s forthrightness regarding future student enrollment, the entirety of the declarations—

rather than any portions thereof—should be stricken.

                  (1) Legal Standard

        In the Third Circuit, it is well-settled that “a party may not create a material issue of fact

to defeat summary judgment by filing an affidavit disputing his or her own sworn testimony

without demonstrating a plausible explanation for the conflict.” Baer v. Chase, 392 F.3d 609,

624 (3d Cir. 2004). When a party does not explain the contradiction between the subsequent

affidavit and the prior deposition, the alleged factual issue in dispute can be perceived as a

“sham,” thereby not creating an impediment to a grant of summary judgment based on the

deposition. Id. “The court may . . . disregard an affidavit when the ‘affiant was carefully

questioned on the issue, had access to the relevant information at that time, and provided no

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satisfactory explanation for the later contradiction.’” Daubert v. NRA Grp., LLC, 861 F.3d 382,

392 (3d Cir. 2017) (quoting Martin v. Merrell Dow Pharm., Inc., 851 F.2d 703, 706 (3d Cir.

1988)).

          The Court “may similarly disregard an affidavit ‘entirely unsupported by the record and

directly contrary to [other relevant] testimony,’ or if it’s ‘clear’ the affidavit was offered ‘solely’

to defeat summary judgment[.]” Daubert, 861 F.3d at 392 (quoting Jiminez, 503 F.3d at 254,

253); cf. In re Avandia Mktg., Sales Practices & Prods. Liab. Litig., 639 F. App’x 874, 877-78

(3d Cir. 2016) (“The timing of the testimony recanting the prior sworn testimony clearly

increased the likelihood that it was intended solely to defeat the motion for summary judgment.”)

(quoting In re Fosamax Prods. Liab. Litig., 707 F.3d 189, 195 (2d Cir. 2013)).

          However, the inverse is also true. The Third Circuit has underscored that even when

“there is a discrepancy between deposition testimony and the deponent’s later affidavit, a district

court is not required in all cases to disregard the affidavit.” Baer v. Chase, 392 F.3d 609, 624 (3d

Cir. 2004); Armstrong v. Wes Health Sys., 188 F. Supp. 3d 478, 482 (E.D. Pa. 2016). A court

may disregard any alleged inconsistency if the affiant offers a “satisfactory explanation” for the

conflict between the affidavit and deposition testimony, such as that the subsequent affidavit

explains or clarifies a witness’s deposition testimony. Jiminez, 503 F.3d at 254; see, e.g., Videon

Chevrolet, Inc. v. Gen. Motors Corp., 992 F.2d 482, 487–88 n. 16 (1993) (holding that a party’s

admission in his deposition which conflicted with an expert’s affidavit did not amount to such

“clear and extreme facts” necessary to warrant ignoring the later affidavit and concluding that the

witness conceded a material issue in the case); Davis v. Mothers Work, Inc., 04-cv-3943, 2005

WL 1863211, at *7 (E.D. Pa. Aug. 4, 2005) (holding that, despite an inconsistency in the

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declaration and the deposition testimony, a subsequently filed declaration should be considered

because it clarified the witness’s earlier deposition testimony). A court may also disregard

inconsistencies where there is independent evidence in the record to bolster an otherwise

questionable affidavit. Armstrong, 188 F. Supp. at 482.

                 (2) Discussion

       The Court begins its analysis with two of the declarations, which are quoted by Drexel in

its motion.     In the declarations, Sodexo employees state that “Drexel employees or

representatives never told me or, to my knowledge, anyone at Sodexo or SodexoMAGIC that

there was a risk of enrollment decline.” (ECF 208-1, at 5). Drexel claims that this statement is

incompatible with deposition testimony—later adopted by Sodexo’s corporate representative—in

which a Sodexo employee recalled a Drexel employee saying, in sum and substance, “nobody

could predict what the freshman enrollment would be going forward,” and “they didn’t know

exactly where it [freshman class enrollment] would be.” (Id. at 4).

       The Court finds that, in this instance, the deposition testimony and the declaration are

compatible.   While the deposition testimony stands for the proposition that Drexel made

statements that it could not predict freshman enrollment, the declarations assert that Drexel never

said there was a risk that freshman enrollment would decline. One can imagine two statements,

in which the first occurred and the second did not: (1) “Drexel cannot predict what student

enrollment will be next year,” and (2) “There is a risk that freshman student enrollment at Drexel

will go down next year.” The first statement speaks to the predictability of freshman enrollment

numbers. The second statement speaks to the risk of enrollment decline. It is entirely possible

for Drexel to discuss the predictability of freshman enrollment without stating that there is a risk

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of enrollment decline. To the extent that the two technically overlap, the Court declines to strike

the declarations on this basis.

       In making this ruling, the Court is especially mindful that this motion does not present

“clear and extreme facts,” which would justify striking the declarations. Video Chevrolet, Inc. v.

Gen. Motors Corp., 992 F.2d 482, 487-88 n. 16 (1993). Moreover, to the extent any discrepancy

might exist between deposition testimony and declarations, the Court notes that it is not required

to disregard the affidavit, but instead may consider its weight in light of any apparent

contradiction. See Baer, 392 F.3d at 624 (where “there is a discrepancy between deposition

testimony and the deponent’s later affidavit, a district court is not required in all cases to

disregard the affidavit”); Heasley v. EchoStar Satellite L.L.C., No. 08-cv-261, 2009 WL

1457733, at *1 (W.D. Pa. May 22, 2009) (“gaps or minor discrepancies in Plaintiff’s testimony []

bear on her credibility and are matters properly reserved for cross-examination.”).

       Drexel also seeks to strike a third declaration, that of Thomas Farabaugh. Drexel bases

this portion of its motion on a perceived contradiction between, on one hand, a representation

made by Sodexo in its responses and objections to Drexel’s Rule 30(b)(6) deposition notice and,

on the other hand, a representation made by Farabaugh in his declaration. In Sodexo’s responses

and objections, Sodexo stated that it “hereby identifies the financial model . . . as located at

SDXMAGIC0003035.” (ECF 208-1, at 5). In his declaration, Farabaugh referenced the same

spreadsheet, stating, among other things, that “[i]t is not a ‘model.’”

       The Court agrees with Drexel that these representations present an irreconcilable

contradiction. Sodexo may not label something a “financial model,” only to later submit a

declaration stating that it “is not a model.” However, the Court will not strike the entirety of the

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Farabaugh declaration, as urged by Drexel, but instead strike only the words, “is not a ‘model’

and” from the sentence in paragraph 9 of the declaration, leaving the sentence which originally

began “It is not a ‘model’ and does not distinguish . . .” to begin, “It does not distinguish . . . .”

In so doing, the Court removes only the problematic portion of the declaration, consistent with

rulings in other Courts in this Circuit. See, e.g., Koken v. Lexington Ins. Co., No. 04-cv-2539,

2006 WL 5377234, at *3 (E.D. Pa. Feb. 1, 2006), Mathis v. Phila. Newspapers, Inc., 455 F.

Supp. 406, 419 (E.D. Pa. 1978); Bumbarger v. New Enter. Stone & Lime Co., 170 F. Supp. 3d

801, 819-22 (W.D. Pa. 2016); Carey v. Beans, 500 F.Supp. 580, 583 (E.D. Pa. 1980), aff’d 659

F.2d 1065 (3d Cir. 1981).

               (B) Sodexo’s Motion to Strike

       In its motion, Sodexo seeks to strike Drexel’s appendix to its motion for summary

judgment on the basis that the appendix circumvented the Court’s Order requiring the parties’

briefs to be limited to twenty pages. (See ECF 195, at 4). Drexel contends that its appendix is a

distillation of the uncontested statements of facts intended to provide an optional piece of reading

for the Court should the Court want to avoid reviewing the statements and responses contained in

the parties’ statements of undisputed facts and responses thereto.

       The Court’s Order and Rules are clear that the parties are permitted to file briefs,

statements of facts, and exhibits. An “appendix of distilled facts” is not contemplated by the

Court, and not permitted by its Rules.

       The Court will not consider the appendix when ruling on the present motions. Therefore,

the motion to strike is denied insofar as it seeks to strike the appendix for failure to adhere to the



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Court’s Order and Rules. 2 See, e.g., Grey v. Johansson, No. CV 15-2479, 2016 WL 1613804, at

*8 (E.D. Pa. Apr. 22, 2016) (denying motion to strike while declining to consider pages

exceeding page limitations imposed by Court’s policies and procedures).




    IV.     Motions for Summary Judgment

            (A) Legal Standard

       A district court should grant a motion for summary judgment if the movant can show

“that there is no genuine dispute as to any material fact and the movant is entitled to judgment as

a matter of law.” Fed. R. Civ. P. 56(a). A dispute is “genuine” if “the evidence is such that a

reasonable jury could return a verdict for the nonmoving party.” Anderson v. Liberty Lobby,

Inc., 477 U.S. 242, 248 (1986). A factual dispute is “material” if it “might affect the outcome of

the suit under the governing law.” Id.

       A party seeking summary judgment always bears the initial responsibility for informing

the district court of the basis for its motion and identifying those portions of the record that it

believes demonstrate the absence of a genuine issue of material fact. Celotex Corp. v. Catrett,

477 U.S. 317, 322 (1986). Where the non-moving party bears the burden of proof on a particular

issue at trial, the moving party’s initial burden can be met simply by “pointing out to the district

court . . . that there is an absence of evidence to support the nonmoving party's case.” Id. at 325.

2
 Sodexo also sought from Drexel the attorneys’ fees incurred as a result of filing the motion to strike.
The Court declines to award any fees.
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After the moving party has met its initial burden, the adverse party's response must, “by citing to

particular parts of materials in the record” set out specific facts showing a genuine issue for trial.

Fed. R. Civ. P. 56(c)(1)(A). “Speculation and conclusory allegations do not satisfy [the non-

moving party’s] duty.” Ridgewood Bd. of Educ. v. N.E. ex rel. M.E., 172 F.3d 238, 252 (3d Cir.

1999). Summary judgment is appropriate if the non-moving party fails to rebut by making a

factual showing “that a genuine issue of material fact exists and that a reasonable factfinder

could rule in its favor.” Id. Under Rule 56, the Court must view the evidence presented on the

motion in the light most favorable to the opposing party. Anderson, 477 U.S. at 255.

       (B) Drexel’s Motion for Summary Judgment as to Sodexo Count I (Fraudulent
           Inducement)

       Drexel’s Motion contends that Count I of Sodexo’s Complaint should be dismissed.

Count I of Sodexo’s complaint alleges that Drexel knowingly misrepresented during contract

negotiations that it anticipated student population growth and, thus, fraudulently induced Sodexo

into the economically-unfavorable Management Agreement.

       Drexel argues that the gist of the action doctrine bars Sodexo’s fraudulent inducement

claim because the allegedly fraudulent statements relate to enrollment projections, which the

Management Agreement explicitly addresses.

       Drexel also asserts that Sodexo cannot prove that Drexel made any misstatements or

omissions or that Sodexo justifiably relied on them because: (a) the proposed enrollment plan

was a mere projection that was never portrayed as a guarantee, (b) Sodexo knew of Drexel’s

decreased freshman enrollment prior to ratifying the Management Agreement, and (c) Drexel

repeatedly refused to include any fixed enrollment figures in the Management Agreement.


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       In response to Drexel’s Motion for Summary Judgment, Sodexo contends that the gist of

the action doctrine does not apply because the duty that Drexel breached was not a contractual

duty derived from any student enrollment representation in the Management Agreement but

rather a social duty of honesty separately maintainable in tort under Pennsylvania law.

       Sodexo also asserts that Drexel made misstatements and failed to disclose its knowledge

that future student enrollment would decline (contrary to all projections), such that the only

question that remains at this stage is Drexel’s state of mind, which is a question of fact

inappropriate for resolution on summary judgment.            The projections contained in the

Management Agreement, Sodexo asserts, demonstrate that Sodexo relied on Drexel’s

misrepresentations when entering into the contract.

       In its reply brief, Drexel contends that Sodexo falls short of offering clear and convincing

evidence of any misrepresentations.

                 (1) The Parol Evidence Rule

                      a) Procedural Background

       After reviewing the parties’ voluminous submissions, but prior to oral argument on July

9, 2018, the Court provided notice to the parties of the Court’s intention to ask them about the

impact of the parol evidence rule. The parties both addressed this point extensively at oral

argument. (See ECF 243, at, e.g., 9:15-20:6).

       After oral argument, the Court sua sponte ordered briefing from the parties regarding the

effect of the parol evidence rule on both parties’ fraud claims (ECF 241), which had not been

discussed by the parties in their submissions. The Federal Rules of Civil Procedure specifically

provide for a court’s ability to grant summary judgment on grounds not raised by any party.

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               After giving notice and a reasonable time to respond, the court
               may:
                  (1) Grant summary judgment for a nonmovant;
                  (2) Grant the motion on grounds not raised by a party; or
                  (3) Consider summary judgment on its own after identifying
                      for the parties material facts that may not be genuinely in
                      dispute.

Fed. R. Civ. P. 56(f)(2) (emphasis added).

       Specifically, the Federal Rules of Civil Procedure require that parties be given at least ten

days’ notice that a court is considering a sua sponte grant of summary judgment. Gibson, 355

F.3d at 223; see also Otis Elevator Co. v. George Washington Hotel Corp., 27 F.3d 903, 910 (3d

Cir. 1994). This Court provided the parties with notice on July 13, 2018 (ECF 241), and granted

both parties an opportunity to supplement their submissions by July 24, 2018. The parties

availed themselves of the opportunity, submitting supplemental briefing on July 24, 2018. (See

ECF 245 and 246).

                       b) The Parties’ Contentions

       Sodexo’s submission, discussed in greater depth infra, asserts that the parol evidence rule

does not apply to Sodexo’s fraud claim because: (1) the Management Agreement is not fully

integrated; (2) Sodexo does not seek to explain or vary the terms of the Management Agreement;

(3) Sodexo’s evidence explains an ambiguous contract provision; and (4) public policy precludes

application of the parol evidence rule.

       Drexel’s submission maintains that the Management Agreement is fully integrated and

unambiguous, and that Sodexo’s fraudulent inducement claim is barred because it pertains to

representations about student enrollment growth, a subject addressed in the Management

Agreement itself. However, Drexel simultaneously contends that its own fraudulent inducement

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claim is not barred by the Management Agreement, because its own claim is not based on Drexel

being fraudulently induced to execute the Management Agreement but rather on Drexel being

fraudulently induced into awarding it the dining services contract at the bidding stage.

                       c) Pennsylvania Caselaw

       The Pennsylvania Supreme Court has consistently held that, where a contract is fully

integrated and unambiguous, parol evidence may not be admitted to support a claim for

fraudulent inducement regarding that contract.

       In one notable Pennsylvania Supreme Court case, HCB Contractors v. Liberty Place

Hotel Associates, 539 Pa. 395, 652 A.2d 1278 (1995), plaintiff HCB entered into four identical

contracts with four owners for a construction project. 539 Pa. at 397. Each of the four contracts

contained express waiver provisions in which HCB agreed not to file any mechanics’ liens. Id.

Nonetheless, HCB eventually filed claims for liens, alleging that during the contract

negotiations, the defendants gave specific assurances that they owned and would continue to own

the various project elements on which HCB was to render its services as general contractor. Id.

at 398. HCB also contended it was unaware that the owners had already transferred ownership

to third parties when it limited its right to recovery. Id. The Court held that where a party

alleges prior fraudulent oral representations regarding a subject that was specifically dealt with in

the written contract, the party alleging such representations must, under the parol evidence rule,

also aver that the representations were fraudulently or by accident or mistake omitted from the

integrated written contract. Id. at 398. HCB Contractors, 539 Pa. 395, 652 A.2d 1278.

       The HCB Contractors Court also reconciled a contradictory line of precedent set out in

Berger v. Pittsburgh Auto Equipment Co., 127 A.2d 334 (1956). In Berger, a Defendant-lessee

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agreed to rent the second floor of a certain property. Berger, 127 A.2d at 335. Plaintiff-lessor

knew that the lessee needed this property to store automobile parts of a certain weight. Id. at

335. The lessor assured the lessee that the flooring had been recently strengthened and would

support the lessee's goods. In reliance on this representation, the lessee executed the lease. Id. A

contemporaneous written collateral agreement stated that: “(t)he tenant has inspected the

premises and accepts the property in its present condition.” Id. at 335-36. Subsequently, the

floor proved incapable of withstanding the required weight. Id. at 337. The lessee vacated,

leading to plaintiff’s suit. Id. at 335. The Court held that the collateral agreement concerning the

inspection of premises only bound the lessee as to any reasonably ascertainable conditions. Id. at

336. Because expert tests rather than visual inspection were necessary to determine the strength

of the flooring, the Court found the contractual integration clause inapplicable and, therefore, the

parol evidence rule inoperative. Id. The rule laid out in Berger was expounded upon in National

Building Leasing, Inc. v. Byler, 252 Pa. Super. 370 (1977), a similar case concerning

misrepresentations about the quality of real estate. The court in Byler had held that, as a general

rule, an allegation that fraud or misrepresentation induced the contract would enable a party to

escape the confines of the parol evidence rule. Byler, 252 Pa. Super. at 374-75.

       The HCB Contractors court reconciled this inconsistency, holding that

               decisions cited by HCB, including Berger, Nadolny, Highmont
               Music Corp., and certain decisions of the Superior Court, may be
               distinguished as dealing with an exception to the strict application
               of the parol evidence rule in sales and leases of real property where
               oral representations regarding a lack of physical defects in the
               property were made and the purchaser or lessee was not able to
               discover, through visual inspection, that the representations were
               false.


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539 Pa. at 400.

       The Pennsylvania Supreme Court further emphasized the expansive scope of its holding

in HCB Contractors in its 2004 decision in Yocca. See 578 Pa. 479, 854 A.2d 425. In Yocca,

the defendants had prevailed in the Court of Common Pleas and the Commonwealth Court on

fraud and negligent misrepresentation claims, based on the application of the parol evidence rule.

The Commonwealth Court reversed, and the Pennsylvania Supreme Court reversed the

Commonwealth Court to hold, consistent with the Court of Common Pleas, that the parol

evidence rule barred … The plaintiffs alleged that a brochure given to them by the Pittsburgh

Steelers negligently and fraudulently induced them into buying season tickets for football games

based on a misleading picture of the area in which the seats would be located. 578 Pa. at 490.

The plaintiffs further alleged that the Steelers violated the Unfair Trade Practices and Consumer

Protection Law (“UTPCPL”).

       The trial court dismissed the complaint, finding that the season ticket agreement entered

into by the Steelers and the plaintiffs was a fully integrated agreement that represented all of the

terms of the parties’ agreement, thereby “supersed[ing] all of parties’ previous negotiations and

agreements.” Id. at 492. As a result, because the plaintiffs’ claims for fraud and negligent

misrepresentation “were directly based on the parties’ contractual agreement, they could only be

brought as part of [the plaintiffs’] breach of contract claims rather than as separate tort claims.”

Id. The Commonwealth Court affirmed the trial court’s dismissal of the plaintiffs’ fraud and

negligent misrepresentation claims because they were based primarily on the parties'

contract. See Yocca v. Pittsburgh Steelers Sports, Inc., 806 A.2d 936, 946 (Pa. Commw. 2002).

However, the Commonwealth Court reversed the trial court’s dismissal of the plaintiffs’ claim

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for breach of contract, finding that the brochure in question constituted part of the parties’ final

agreement. Id. at 942.

       The Pennsylvania Supreme Court held that the Commonwealth Court had improperly

reversed the trial court’s order dismissing plaintiffs’ “breach of contract claims because the parol

evidence rule bars any consideration of [the plaintiffs’] claims, which are wholly based on the

terms in the [] Brochure.” 578 Pa. at 496-97. The Pennsylvania Supreme Court explained that,

as a threshold matter, the parol evidence rule applies when there is a “writing that represents the

entire contract between the parties,” i.e., an integrated agreement. Id. at 497 (citing Gianni, 281

Pa. at 323). The court explained that,

               [t]o determine whether or not a writing is the parties’ entire
               contract, the writing must be looked at and “if it appears to be a
               contract complete within itself, couched in such terms as import a
               complete legal obligation without any uncertainty as to the object
               or extent of the [parties’] engagement, it is conclusively presumed
               that [the writing represents] the whole engagement of the
               parties....” An integration clause which states that a writing is
               meant to represent the parties' entire agreement is also a clear sign
               that the writing is meant to be just that and thereby expresses all of
               the parties’ negotiations, conversations, and agreements made prior
               to its execution.

Id. at 497-98 (citations omitted).

       Thus, if a court finds that the agreement in question is the parties’ entire contract, “the

parol evidence rule applies and evidence of any previous oral or written negotiations or

agreements involving the same subject matter as the contract” is inadmissible to explain or vary

the terms of the contract, unless: (1) a term is ambiguous and parol evidence is offered to explain

or clarify the ambiguity; or (2) a term was omitted from the contract because of fraud, accident,

or mistake. Id. at 498.

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        As to the second category, the Yocca court emphasized a distinction in the application of

the parol evidence rule between claims for “fraud in the inducement” (i.e., fraudulent

inducement) and claims for “fraud in the execution”:

                Notably, while parol evidence may be introduced based on a
                party's claim that there was a fraud in the execution of the
                contract, i.e., that a term was fraudulently omitted from the
                contract, parol evidence may not be admitted based on a claim that
                there was fraud in the inducement of the contract, i.e., that an
                opposing party made false representations that induced the
                complaining party to agree to the contract.

Id. at 502 n. 26.

        Applying the above analytical framework, Yocca ultimately found that the parties’ final

agreement was fully integrated, thereby rendering inadmissible the brochure. Id. at 499. In

addition to containing an integration clause, the final agreement appeared to be the entire

agreement between the parties because it contained the detailed terms of the contract:

                [T]he [] Agreement detailed all of the terms and conditions of that
                sale, i.e., the precise number of seats to be sold to the named
                Licensee, the exact section in which those seats were located
                (including a visual depiction of that location), the total amounts
                due for each SBL, the dates those amounts were due, and all of the
                rights and duties associated with owning an SBL, including the
                Licensee’s right to transfer the SBL.

Id. at 499.

        After finding that there was no ambiguity in the parties’ final agreement, the

Pennsylvania Supreme Court “agree[d] with the trial court’s conclusion that Appellees’ breach of

contract claims must be dismissed [because they are] are entirely based on allegations that the

Steelers violated . . . terms and conditions that are not, in fact, part of the parties’ contract.” Id.

at 500-01.

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        Three years later, in 2007, the Pennsylvania Supreme Court made clear in Toy that the

“fraud in the execution” exception to the parol evidence rule, discussed in Yocca, and previously

discussed in other case law, was to be narrowly construed. See 593 Pa. 20. In Toy, the plaintiff

alleged that an insurance salesman orally misrepresented to her which provisions would

ultimately be included in an insurance policy. Id. at 31. The trial court concluded that any

misrepresentations made by the salesman were barred by the parol evidence rule. Id. The

Superior Court reversed, concluding that the plaintiff’s allegations fell within the “fraud in the

execution” exception to the parol evidence rule.         Id.   The Pennsylvania Supreme Court,

emphasizing Yocca’s distinction between fraud in the execution and fraud in the inducement,

affirmed the Superior Court and held that the salesman’s alleged misrepresentations were not

barred by the parol evidence rule:

                while the fraud exception to the parol evidence rule potentially
                applies in two scenarios—fraud in the inducement, where a party
                alleges that he was induced into entering the agreement through the
                other's fraud, and fraud in the execution, where a party alleges that
                he was mistaken as to the terms and the actual contents of the
                agreement he executed due to the other's fraud—this Court has
                determined that in Pennsylvania, only fraud in the execution,
                which is alleged in this case, but was not alleged in Yocca, is
                excepted from the parol evidence rule's operation.

Id. at 52.

        The Third Circuit has affirmed that Pennsylvania state law recognizes a distinction

between parol evidence admissibility for fraud in the execution and fraud in the inducement.

Dayhoff Inc. v. H.J. Heinz Co., 86 F.3d 1287, 1300 (3rd Cir. 1996). Specifically, the Third

Circuit articulated that:

                Fraud in the execution applies to situations where parties agree to

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               include certain terms in an agreement, but such terms are not
               included. Thus, the defrauded party is mistaken as to the contents
               of the physical document that it is signing. Parol evidence is
               admissible in such a case only to show that certain provisions were
               supposed to be in the agreement but were omitted because of fraud,
               accident, or mistake. Fraud in the inducement, on the other hand,
               does not involve terms omitted from an agreement, but rather
               allegations of oral representations on which the other party relied
               in entering into the agreement but which are contrary to the
               express terms of the agreement.

Id.; see also 1726 Cherry Street Partnership by 1726 Cherry Street Corp. v. Bell Atlantic

Properties, Inc., 439 Pa. Super. 141, 154 (1995) (noting that Pennsylvania state law regarding

parol evidence admissibility differs from the widely accepted Restatement (Second) of Contracts,

which may allow parol evidence to demonstrate fraud in the inducement).

       Given the substantial Pennsylvania case law, as detailed above, this Court is well-guided

in its application of the parol evidence rule. The law in Pennsylvania is clear: where a written

contract is fully integrated and unambiguous, a party may not offer parol evidence in support of a

claim that they were fraudulently induced to enter into that contract.

                       d) Integration

       A fully integrated contract can be established through an integration clause “that states

that the writing is meant to represent the parties’ entire agreement,” which constitutes “a clear

sign that the writing is meant to be just that, and thereby expresses all the parties’ negotiations,

conversations, and agreements made prior to its execution.” Toy, 593 Pa. at 49.        However, a

written contract need not contain an express integration clause in order to be fully integrated. A

written contract without an express integration clause can be considered fully integrated if it

appears to reflect the parties’ complete agreement.


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        For example, in Gianni v. Russell & Co., 281 Pa. 320 (1924), the Court stated:

                The writing must be the entire contract between the parties if parol
                evidence is to be excluded, and to determine whether it is or not
                the writing will be looked at, and if it appears to be a contract
                complete within itself, couched in such terms as import a complete
                legal obligation without any uncertainty as to the object or extent
                of the engagement, it is conclusively presumed that the whole
                engagement of the parties, and the extent and manner of their
                undertaking, were reduced to writing.

Id. at 323 (internal citation omitted).

        This standard has been affirmed and developed in subsequent cases, see Yocca, 578 Pa.

479; Dunn v. Orloff, 420 Pa. 492 (1966); In re Boyd's Estate, 394 Pa. 225 (1958), and cited with

approval by the Third Circuit. See, e.g., Mellon Bank Corp. v. First Union Real Estate Equity &

Mortg. Investments, 951 F.2d 1399, 1405 (3d Cir. 1991).

        For example, in Dunn, the Pennsylvania Supreme Court stated that “if a written

agreement was intended by the parties to encompass the entire understanding between the

parties, then evidence of a contrary nature, based upon an oral agreement at the time of the

execution of the written agreement, was barred in the absence of fraud, 3 accident or mistake.”

420 Pa. at 495 (emphasis added). In other words, while a merger or integration clause will serve

as a strong indication that the contract is fully integrated, the intention of the parties is also a key

consideration in a court’s analysis.

        The Court finds that the Management Agreement at issue in the present case is fully

integrated. Importantly, it contains a merger clause, stating, in no uncertain terms:

                This Agreement contains all agreements of the parties with respect
                to matters covered herein, superseding any prior agreements, and
3
  As stated supra, the exception for parol evidence with respect to “fraud” applies to “fraud in the
execution,” rather than “fraud in the inducement.” See, e.g., Toy, 593 Pa. at 49-50.
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               may not be challenged other than by an agreement in writing
               signed by the parties hereto.

(Sodexo SOF, Ex. 1 § 10.11)

        Sodexo contends that the above language is not a merger clause because nothing in the

clause refers to prior representations, only to prior agreements. Therefore, Sodexo asserts, it is

unlike the language previously found sufficient to constitute a merger clause. Further supporting

its argument, Sodexo maintains, is another contract provision that explicitly references

“representations” made by “each party”:

               9.1     Changes in Policies and Practices. The financial terms
               set forth in this Agreement and other obligations assumed by
               SodexoMAGIC hereunder are based on conditions in existence on
               the date SodexoMAGIC commences operations, including by way
               of example, [Drexel’s] student population; labor, food, and supply
               costs; and federal, state and local sales, use and excise tax. In
               addition, each party has relied on representations regarding
               existing and future conditions and projections made by the other in
               connection with the negotiation and execution of this Agreement.
               In the event of a change in the conditions or the inaccuracy or
               breach of, or the failure to fulfill, any such representation by a
               party, the financial terms and other obligations assumed by the
               other party shall be renegotiated on a mutually agreeable basis to
               reflect such change, inaccuracy or breach. SodexoMAGIC shall
               submit any requested changes and the cause for such changes to
               [Drexel], in writing, prior to any negotiations.

(Id. § 9.1).

        Section 9.1 does not alter the Court’s analysis with respect to the question of full

integration. The Supreme Court of Pennsylvania has clearly indicated that “an integration clause

which states that a writing is meant to represent the parties’ entire agreement is a clear sign that

the writing is meant to be just that.” Yocca, 578 Pa. at 498. Having agreed in the Management

Agreement itself that “[t]his Agreement contains all agreements of the parties with respect to

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matters covered herein,” Sodexo may not now seek to introduce evidence of prior oral

representations made by Drexel.

        However, this is not the end of the Court’s inquiry, as there are other indications that the

Management Agreement was intended by the parties to be a “complete agreement.”                  The

Management Agreement is, including exhibits, nearly one hundred pages single-spaced

(excluding exhibits it is forty pages single-spaced). (See generally Sodexo SOF Ex. 1). It is so

detailed that it even covers the subject matter of Drexel’s alleged misrepresentations, stating that

the “[p]arties agree that the University’s growth is a critical factor in calculating the Investments

afforded under the Agreement and it has been projected by SodexoMAGIC that this growth will

realize an increase of 2% per year in the freshman class year over year.” (Id. § 9.2). See

Deutsch v. Wells Fargo Bank, N.A., No. 13-cv-3914, 2015 WL 3833226, at *4 (E.D. Pa. June

19, 2015) (courts consider the “length and detail of the contract” when determining whether a

contract is integrated).

        In fact, section 9.1, cited by Sodexo, is consistent with the Court’s conclusion that the

Management Agreement is integrated. The parties’ obligations under section 9.1 are clear,

requiring the parties to “renegotiate on a mutually agreeable basis” should there be a “change in

the conditions or the inaccuracy or breach of, or the failure to fulfill, any [] representation by a

party.” Just as determining compliance with section 9.1 requires reference to outside “facts”

(i.e., was a representation inaccurate?), so too does determining compliance with any other

contractual provision. For example, determining whether a party breaches a confidentiality

clause requires proof of an improper communication imparting sensitive information; paying

only partial invoice sums requires reference to bank receipts; and breach of a contractual

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provision requiring passing grades for Health Department inspections requires reference to failed

inspections. Although external evidence would be required in each of the above examples to

prove the case, that fact does not preclude a contract containing such provisions from being

legally integrated, nor does it mean the contract is ambiguous. See supra. A party can still

substantiate its case with evidence where the above situations are presented (in the above

examples, for breach of contract). However, where the parties intend for a contract to be fully

integrated and to reflect their complete agreement, as occurred with the Management Agreement,

“previous oral or written negotiations or agreements involving the same subject matter as the

contract” are inadmissible. Yocca, 578 Pa. at 498. The fact that § 9.1 refers to “representations”

while § 10.11 refers to “agreements” does not change the Court’s conclusion.

                      e) Ambiguity

       Sodexo argues that it may introduce parol evidence because the term “representations” is

ambiguous. Parol evidence is admissible based on the ambiguity of a contractual term where the

parol evidence is presented “to explain or clarify or resolve the ambiguity.” Yocca, 578 Pa. at

498; see also Estate of Herr, 400 Pa. 90 (1960); Waldman v. Shoemaker, 367 Pa. 587 (1951).

Here, however, Sodexo’s does not seek to introduce parol evidence to resolve any ambiguity in

the term “representations.” Instead, Sodexo seeks to introduce alleged oral representations by

Drexel regarding student enrollment to prove its claim for fraudulent inducement. The purpose

for which Sodexo seeks to introduce the parol evidence, therefore, is unrelated to any purported

ambiguity, “latent” or “patent,” contained in the term “representations.”




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                       f) Sodexo’s Post-Argument          Submission     Regarding     the   Parol
                          Evidence Rule

       In its submission arguing against the application of the parol evidence rule, Sodexo fails

to recognize the strength of Pennsylvania precedents holding that fraudulent inducement claims

do not provide an escape from the parol evidence rule. Although citing Yocca and Toy in

passing references, Sodexo ignores their holdings, which this Court is bound to follow. Instead,

Sodexo relies heavily on a recent, clearly distinguishable, non-precedential decision in this

District, Boardakan Rest. LLC v. Gordon Grp. Holdings LLC, No. 11-cv-5676, 2015 WL

4597970 (E.D. Pa. July 31, 2015). In Boardakan, the plaintiffs allegedly entered into lease

agreements with defendant companies for space near a pier in Atlantic City, New Jersey. Id. at

*1. The parties entered into the lease agreements during ongoing pier construction, and they

specified that the agreements became automatically null and void if the pier did not open on

time. Id. The plaintiffs alleged that, after it became apparent that the pier would open later than

scheduled, they sought assurances from defendants that the other businesses opening at the pier

intended to maintain their leases. Id. According to the complaint in that case, the defendants

specifically represented that the other businesses would “definitely be opening” at the pier, when

in fact they had both already terminated their leases. Id. As a result, the plaintiffs allegedly

entered into amended lease agreements with defendants and invested substantial sums of money

on improvements. Id.

       Sodexo acknowledges Judge Slomsky’s decision in Boardakan finding the parol evidence

rule inapplicable was premised on the fact that the plaintiffs in that case were not asserting that

“they were promised something different than what was reflected in the contract.” Id. at *7.


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Sodexo contends that its claims should similarly be considered separate-and-apart from the

contents of the contract into which they allege they were fraudulently induced. However,

Sodexo has persistently pointed this Court to the language of the Management Agreement stating

that the “[p]arties agree that the University’s growth is a critical factor in calculating the

Investments afforded under this Agreement and it has been projected by SodexoMAGIC that this

growth will realize an increase of 2% per year in the freshman class year over year.” (Sodexo

SOF Ex. 1, § 9.2). Given that Sodexo’s fraudulent inducement claim is exclusively premised on

allegations that it was misled as to freshman student class sizes, it is clear that Sodexo’s claim is

based on promises that were partially, and could have been more completely, incorporated into

the integrated contract. Boardakan has no relevance to this case.

       Also in its submission, Sodexo seeks to distinguish the Pennsylvania Supreme Court’s

2004 decision in Yocca, discussed in detail supra, which unambiguously reaffirmed the well-

settled rule that, unless parol evidence is being offered to explain an ambiguous term, “[o]nce a

writing is determined to be the parties' entire contract . . . evidence of any previous oral or

written negotiations or agreements involving the same subject matter as the contract” is

inadmissible. 578 Pa. at 498. Sodexo dedicates a mere six lines in a footnote to an attempt to

distinguish Yocca on the basis that, unlike in Yocca, “SodexoMAGIC is not attempting to undo

or vary any obligations set out in the Agreement.” (ECF 245, at 7 n. 5). Given that the

Management Agreement is, according to Sodexo, the source of a contractual duty to renegotiate

in the event that freshman student enrollment does not grow by 2% annually, (see Sodexo SOF

Ex. 1, § 9.2), this Court is unable to reconcile Sodexo’s post-argument submission with its prior

briefing.   Stated bluntly, Sodexo fails to meaningfully distinguish Yocca’s holding, which

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specifically controls the present case.

        Then, in footnote #4 of its submission, Sodexo suggests that there is a “second prong” of

the parol evidence rule which “concerns whether the [parol] evidence contradicts the

agreement’s terms or creates a new contractual obligation.” (ECF 245, at 5 n. 4). While Sodexo

may be correct that parol evidence is barred where it constitutes the same subject matter as the

integrated contract, see HCB Contractors, 539 Pa. at 397, Sodexo itself acknowledges that the

“same subject matter” inquiry has, in the past, involved scenarios in which the representations

forming the basis for fraud were related to, and not necessarily specifically dealt with, in the

parties’ integrated contract.    See, e.g., Gianni, 281 Pa. at 323 (same subject matter where

representation was that shop owner would have exclusive right to sell soda in the building, but

the lease did not include that obligation even though the contract designated what the shop owner

could sell in the building). 4

        Sodexo’s final argument in favor of allowing its fraudulent inducement claim to succeed

is that “Pennsylvania has a strong interest in holding fraudsters accountable for their conduct and

resulting injury.” (ECF 245, at 9). Sodexo cites to Toy for this contention, although it is of

course self-evident that Pennsylvania has an interest in curtailing fraud. Nonetheless, the parol

evidence rule bars fraudulent inducement claims, because,

                it subsumes an objective to promote certainty and stability of
                contract, and to place some reasonable limitations on the litigation

4
  In the same footnote, Sodexo presents another irreconcilable internal inconsistency, claiming, with the
emphasis its own, that it “is not claiming Drexel had any contractual obligation to increase enrollment,”
(ECF 245, at 6 n. 4), yet Sodexo has staunchly maintained throughout this litigation that Drexel’s failure
to increase enrollment triggered a contractual duty on the part of Drexel to renegotiate the Management
Agreement in good faith. (See, e.g., ECF 227, at 2 (“[T]he Agreement noted that SodexoMAGIC’s
investment was based on an assumption that freshman enrollment would grow, and that if that assumption
‘changed,’ Drexel would renegotiate the Agreement in good faith.)).
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               exposure of the business community and others, by investing
               contracting parties with an obligation to read their written
               agreements and abide by clear terms, short of an allegation of fraud
               of a sort that would not be obvious from the face of the integrated
               agreement, and/or in the absence of circumstances in which
               reading      the    written      agreement    would       not     be
               reasonable. Cf. Thorne v. Warfflein, 100 Pa. 519 (1882) (‘We
               cannot agree that it is proper to throw the whole case into the jury
               box on the ground of fraud, simply because one of two parties to a
               written contract testifies that there were parol stipulations
               contradictory to the terms of the writing, agreed to at the same
               time. There must be evidence of fraud other than that which may
               be derived from the mere difference in the parol and written terms.
               We can find no such evidence in the present case, and we are,
               therefore, of opinion that the learned court below was in error in
               leaving the question of fraud to the jury.’).

Toy 593 Pa. at 63–64 (Saylor, J.)

       In summary, Sodexo is unable to successfully distinguish Yocca, or any of the other well-

established and binding Pennsylvania Supreme Court precedents.            The present case fits

doctrinally into the clearly applicable case law barring claims for fraudulent inducement into

integrated contracts.

                 (2) Gist of the Action Doctrine

       To determine whether the fraud claim is barred by the gist of the action doctrine, the

Court must first assess the alleged breach of the “social duty imposed by the law of torts” (i.e.,

the fraud), and then compare that breach to Drexel’s contractual obligations under the

Management Agreement. See Bruno v. Erie Ins. Co., 106 A.3d 48, 70 (Pa. 2014). If the claim

against Drexel for its alleged actions is not “based on” Drexel’s “violation of any [] contractual

commitments,” then it is not barred by the gist of the action doctrine. Id. On the other hand,

courts have barred fraud claims: (1) which arise solely from a contract between the parties; (2)


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where the duties allegedly breached were created and grounded in the contract itself; (3) where

the liability stems from a contract; or (4) where the tort claim essentially duplicates a breach of

contract claim. Downs v. Andrews, No. 13-cv-5788, 2014 WL 7235841, at *9 (E.D. Pa. Dec.

19, 2014), aff'd, 639 F. App'x 816 (3d Cir. 2016) (citing eToll, Inc. v. Elias/Savion Advertising,

Inc., 811 A.2d 10, 19 (Pa. Super. Ct. 2002 (collecting cases)).

       The Complaint alleges that Drexel fraudulently induced Sodexo into the Management

Agreement by falsely representing “Drexel’s plans for future student enrollment.” Ultimately,

Sodexo’s growth projections materialized within the final Management Agreement, in a section

entitled “Financial Assumptions”:

               [Drexel] recognizes that SodexoMAGIC made certain assumptions
               in preparing the financial package offered in this Agreement and
               understands that changes to the financial assumptions below may
               have an adverse economic impact on SodexoMAGIC; in such
               cases [Drexel] shall work with SodexoMAGIC in good faith to
               mutually agree upon solutions in an effort to counter such impact.
               ...
                   • Parties agree that the University’s growth is a critical factor
                      in calculating the Investments afforded under this
                      Agreement and it has been projected by SodexoMAGIC
                      that this growth will realize an increase of 2% per year in
                      the freshman class year over year.
                      ...
                   • Minimum Catering Net Sales of Three Million Four Hundred Thousand
                      Dollars ($3,400,000) in full Contract Year 1 (July 1, 2015 through June
                      30, 2016) with projected growth of three percent (3%) annually thereafter.

(Management Agreement, § 9.2).

       This bargained-for contractual term specifically referenced Sodexo’s projection that

growth in the freshman class would be 2% per year, and required Drexel to “work with Sodexo[]

in good faith to mutually agree upon solutions” where this projection ultimately proved incorrect


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and caused “an adverse economic impact on Sodexo[].” In other words, Sodexo addressed its

student growth concerns via the Management Agreement.

       Applying the relevant legal tests for the gist of the action doctrine, it cannot be said that

Sodexo’s fraud claim “arise[s] solely from [the] contract between the parties.” eToll, 811 A.2d

at 19. Sodexo’s fraud claim instead arises out of Drexel’s purported representations, which in

turn led Sodexo to enter into the contract.

       Nevertheless, because Sodexo’s fraud claim revolves around representations which were

manifested in the express terms of the Management Agreement, Sodexo’s fraud claim does

“essentially duplicate[] a breach of contract claim.” Id. In this case, that claim is expressed as

Count II, in which Sodexo alleges Drexel failed to re-negotiate the contract in good faith after

projections for student enrollment materially differed from later enrollment numbers.

       Moreover, the liability that Sodexo claims in its fraud count “stems from a contract.”

eToll, 811 A.2d at 19. The liability alleged is derived from the parties’ inability to renegotiate

the contract, in light of the deviation in student enrollment from that which Sodexo assumed as

part of the Management Agreement. Thus, this case also fits within the realm of cases where the

“gist of the action” doctrine barred a fraud claim because the liability alleged as part of the fraud

claim arose from a contractual obligation and/or breach. See id. (collecting cases).

       Regarding the “gist of the action doctrine,” Sodexo cites only two cases in its response to

Drexel’s Motion for Summary Judgment: Bruno v. Erie Ins. Co., 106 A.3d 48 (Pa. 2014) and

Mendelsohn, Drucker & Assocs. v. Titan Atlas Mfg., Inc., 885 F.Supp.2d 767 (E.D. Pa. 2012)

(Baylson, J.).

       In Bruno, the Pennsylvania Supreme Court held that the trial court erred by dismissing

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via demurrer the plaintiff’s negligence claim because it was not barred by the gist of the action

doctrine. Importantly, the Bruno Court stated a “general governing principle which can be

derived from our prior cases”:

               If the facts of a particular claim establish that the duty breached is
               one created by the parties by the terms of their contract—i.e., a
               specific promise to do something that a party would not ordinarily
               have been obligated to do but for the existence of the contract—
               then the claim is to be viewed as one for breach of contract. If,
               however, the facts establish that the claim involves the defendant's
               violation of a broader social duty owed to all individuals, which is
               imposed by the law of torts and, hence, exists regardless of the
               contract, then it must be regarded as a tort.

Bruno v. Erie Ins. Co., 630 Pa. at 112 (internal citations omitted).

       The Court’s analysis above is consistent with this principle. Sodexo alleges that its

damages arose from Drexel’s intentional decision to mislead Sodexo about student enrollment

projections. In other words, Drexel made no “specific promise to do something.” Therefore,

“but for the existence of the contract,” Drexel owed no underlying “social duty” to disclose its

anticipated student enrollment to Sodexo.

       In Mendelsohn, this Court denied the defendant’s motion to dismiss plaintiff’s fraudulent

inducement claim, finding that it was not barred by the gist of the action doctrine because the

alleged fraud constituted “a breach of duties of honesty imposed by society, not contractual

duties.” Mendelsohn, 885 F. Supp. 2d at 790 (Baylson, J.). This Court relied on, and cited, Mill

Run Assocs. v. Locke Property Co., Inc., 282 F.Supp.2d 278 (E.D. Pa. 2003), in reaching its

decision. Mill Run, which, like Mendelsohn, arose in the context of a motion to dismiss, made

clear that its central rationale for allowing both contract and tort claims to proceed was that

“alternative pleading is permissible under” the Federal Rules, and “it is unclear at this stage of

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litigation whether the ‘gist’ of the action sounds in contract or tort.” Mill Run, 282 F. Supp. 2d at

291.

       The procedural posture of Mill Run and Mendelsohn is crucially important. Both cases

permitted potentially duplicative claims to go forward because, in the absence of a sufficient

factual record to determine whether the tort or contract claim predominated the complaint, they

could proceed “in the alternative.” Here, after substantial discovery and motion practice, it has

become abundantly clear that the thrust of this case revolves around claims grounded in the

parties’ Management Agreement.

       Thus, the Court will also, or alternatively, grant Drexel’s Motion for Summary Judgment

and dismiss Count I of Sodexo’s Complaint.

                 (3) Clear and Convincing Evidence of Misrepresentations or Omissions

       Drexel asserts that a third ground precludes Sodexo from pursuing its fraudulent

inducement claim, namely, that Sodexo has failed to present clear and convincing evidence of

any misrepresentations made by Drexel during the time period preceding the execution of the

Management Agreement. On this narrow point, the Court disagrees. When viewed in a light

most favorable to Sodexo, the evidence it has presented could reasonably be seen as clear and

convincing indications that Drexel misrepresented its freshman student enrollment. Specifically,

the Court looks to three declarations attached to Sodexo’s Statement of Undisputed Facts in

Opposition to Drexel’s Motion for Summary Judgment (ECF 213, Ex. 70, 71, and 93).

       All three declarations, submitted by Sodexo employees Nancy Arnett, Rush Sherman,

and Leonard Riccio, stated that,

               during the RFP process and throughout contract negotiations, Rita LaRue

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                   repeatedly represented to me and other representatives of SodexoMAGIC that
                   freshman enrollment would continue to grow over the ten-year life of the contract,
                   or at the very least, enrollment would stay flat for the first three years.

(Ex. 93 ¶ 9; Ex. 70 ¶ 23; Ex. 71 ¶ 23).

           Nonetheless, the Court recognizes that its conclusion regarding the issue of

“misrepresentations or omissions” is inconsequential to its overall finding as to Count I, which,

based on the gist of the action doctrine and the parol evidence rule, must be dismissed. 5

                   (B) Drexel’s Motion for Summary Judgment as to Sodexo Count II (Breach
                       of Contract)

           Count II of Sodexo’s complaint alleges that Drexel breached § 9.2 of the Management

Agreement by failing to renegotiate the Management Agreement in good faith. The Agreement

provided that, in the event that any of the information on which Sodexo relied in forming a

contract with Drexel was inaccurate, then Drexel would renegotiate in good faith to correct the

inaccuracy and come to a mutually agreed-upon solution. Sodexo claims, however, that Drexel

insisted on commercially unreasonable terms that wouldn’t allow Sodexo to make any profit,

demonstrating Drexel’s lack of good faith. As a result of this alleged breach, Sodexo again

alleges that it suffered millions of dollars of damages, including liabilities incurred and lost

profits.

                     (1) Drexel’s Motion and Reply

           Drexel argues that Sodexo cannot use the good-faith provision to impose liability on

Drexel for provisions that it adamantly rejected. Drexel also asserts that the good-faith provision

did not specify any basis by which to measure bad faith, and Sodexo cannot use this provision to

force Drexel to terms that are not mutually agreeable. Additionally, Drexel asserts that there is

5
    For the same reasons, as discussed infra, Drexel’s fraudulent inducement claim also fails.
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no evidence of bad faith because Drexel made an offer that included various concessions.

                  (2) Sodexo’s Response

        Sodexo asserts that the good-faith provision is enforceable because the term fulfills the

meeting of the minds, definitive terms, and consideration requirements. Sodexo argues that

Drexel breached the good faith provision during renegotiations by obscuring enrollment

numbers, reneging on agreed-upon terms, and pursuing a contract with Sodexo’s competitor

Aramark during renegotiations. Sodexo argues that bad faith is a question of fact inappropriate

for resolution at this stage.

                  (3) Analysis

                [Drexel] recognizes that SodexoMAGIC made certain assumptions
                in preparing the financial package offered in this Agreement and
                understands that changes to the financial assumptions below may
                have an adverse economic impact on SodexoMAGIC; in such
                cases [Drexel] shall work with SodexoMAGIC in good faith to
                mutually agree upon solutions in an effort to counter such impact.
                ...
                    • [University] growth will realize an increase of 2% per year
                       in the freshman class year over year.
                       ...
                    • Minimum Catering Net Sales of [$3,400,000] in full Contract Year 1 . . .
                       with projected growth of three percent (3%) annually thereafter.

        Good faith provisions can be implicit (i.e., parties to a contract must act in good faith,

without anything written into the contract) or explicit (e.g., parties to a contract can write that

they will act in good faith to renegotiate a resolution if interest rates rise beyond a certain point).

Here, Sodexo argues that Section 9.2 operates as an explicit good faith provision, which was

triggered when Sodexo’s projection—that freshman student enrollment would grow by 2% each

year—turned out to be incorrect. However, Sodexo urges the Court to borrow the standard for


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good faith claims from an implied good faith case, Somers v. Somers, 418 Pa. Super. 131 (1992),

in which “there [was] no express term in the contract requiring defendants to act in good faith.”

Id. at 138. In fact, Somers approvingly cited a prior case, Frickert v. Deiter Bros. Fuel Co., Inc.,

464 Pa. 596 (1975), which made clear that only “[i]n the absence of an express provision [will]

the law imply an agreement by the parties to a contract to do and perform those things that

according to reason and justice they should do . . . .” Id. at 603; accord Slater v. Pearle Vision

Center, Inc., 376 Pa. Super. 580, 586 (1988).

       Here, the more appropriate cases to look to for guidance involve explicit good faith

agreements. As Sodexo’s Complaint makes clear, the source of the alleged good faith obligation

that it claims it was owed is contained within the Management Agreement itself. (See, e.g.,

Compl. ¶ 88 (In the Agreement, Drexel promised that if the information it provided to

SodexoMAGIC was inaccurate, Drexel would renegotiate in good faith . . . .”)).

       A preliminary step in analyzing whether there has been a breach of an explicit good faith

agreement is to determine whether the good faith provision at issue is enforceable. Under

Pennsylvania law, “the test for enforceability of an agreement is whether both parties have

manifested an intention to be bound by its terms and whether the terms are sufficiently definite to

be specifically enforced.” Channel Home Centers, Div. of Grace Retail Corp. v. Grossman, 795

F.2d 291, 298-299 (3d Cir. 1986). In Channel Home, the case on which Sodexo exclusively

relies, the Third Circuit reversed and remanded the District Court, on the ground that the District

Court erred in its determination that a letter of intent did not create an enforceable agreement to

negotiate in good faith. Id. at 291. Instead, the Third Circuit held that “the letter of intent and

the circumstances surrounding its adoption both support[ed] a finding that the parties intended to

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be bound by an agreement to negotiate in good faith.” Id. at 300.

        Subsequent cases in this Circuit and others have addressed the enforceability of “good

faith” clauses in more specific language, although various courts have noted the extensive

“ambiguity regarding what an agreement to negotiate in good faith must include to be

enforceable.” Clark Resources, Inc. v. Verizon Bus. Network Servs., Inc., No. 10-cv-1119, 2011

WL 1627074, at *4 (M.D. Pa. Apr. 29, 2011); accord Venture Assocs. Corp. v. Zenith Data Sys.

Corp., 96 F.3d 275, 278 (7th Cir. 1996) (Posner, J.) (“[T]he notion of a legally enforceable duty

to negotiate in good faith toward the formation of a contract rests on somewhat shaky

foundations . . . .”). In fact, even though the Third Circuit in Channel Home found that, under

Pennsylvania law, there is an action for breach of an agreement to negotiate in good faith,

“Pennsylvania courts have not explicitly recognized the cause of action.” See Clark Resources,

2011 WL 1627074, at *4 n. 5 (citing Jenkins v. Cnty. of Schuylkill, 441 Pa. Super. 642, 658

(1995 (concluding that if the cause of action existed it would not apply); GMH Assoc., Inc. v.

Prudential Realty Grp., 752 A.2d 889, 903 (Pa. Super. Ct. 2000) (same).

       This Court agrees with the determination made in Clark Resources, that “an agreement to

negotiate in good faith must include some ‘framework’ or ‘objective criteria’ by which a court

can measure whether the agreement to negotiate in good faith has been breached.” 2011 WL

1627074, at *5; accord Feldman v. Allegheny Int’l, Inc., 850 F.2d 1217 (7th Cir. 1988) (“‘Good

faith’ is no guide. In a business transaction both sides presumably try to get the best of the

deal.”); Candid Prods., Inc. v. Int'l Skating Union, 530 F. Supp. 1330, 1337 (S.D.N.Y. 1982)

(“On what basis does the Court decide that the [proposal] is so unreasonable so that it can

determine that the proposal was contrary to good faith bargaining?”).

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        Sodexo claims that the “good faith provision” at issue here is sufficiently definite because

it is “for the purpose of countering negative effects to SodexoMAGIC.” (ECF 228, at 11).

However, simply because the provision is “triggered” by the negative effects or geared towards

remedying them does not mean that mitigating negative effects is a sufficient metric for judging

whether Drexel complied with such a provision.

        Therefore, because there is no limiting principle against which a fact finder could

measure Drexel’s “good faith,” this Court is unable to recognize the existence of an enforceable

agreement to renegotiate in good faith. Count II will be dismissed. 6




                (C) Motions for Summary Judgment as to Sodexo Count V (Breach of
                    Contract) 7

        Count V of Sodexo’s amended complaint alleges that Drexel owes damages arising from

its breach of contract, specifically concerning its failure to pay:

        (1) the increased board daily rates and failure to accept the reduced commission agreed
            upon in September 2016;
        (2) student labor wages totaling $7,000, pursuant to the Management Agreement;
        (3) inventory invoice expenses totaling $76,945.81, pursuant to the Management
            Agreement;



6
  Moreover, even if the good faith provision were enforceable, because Drexel made an offer containing
various concessions that would partially mitigate the negative effects of lagging enrollment (see, e.g.,
Sodexo SOF Ex. 42), Drexel complied with its obligation to “work with SodexoMAGIC in good faith to
mutually agree upon solutions in an effort to counter such impact.” (Sodexo SOF Ex. 1 § 9.2).
7
  Note that because the Court’s discussion of Counts III and IV, Sodexo’s claims for unjust enrichment
and punitive damages, respectively, is informed by its analysis of the parties’ other claims, they will be
addressed last.
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        (4) dining dollars totaling approximately $75,000, pursuant to the Management
            Agreement;
        (5) outstanding contractual interest (i.e., late fees) totaling $407,625.16, pursuant to the
            Management Agreement, accruing as a result of Drexel failing to pay invoices for
            dining services, inventory, student labor wages, and dining dollars; and
        (6) attorneys’ fees and court costs, pursuant to the Management Agreement, the total of
            which is yet to be determined.

        Both parties moved for summary judgment on this cause of action, seeking entry of

judgment as a matter of law in their respective favors.

                  (1) Briefing with Respect to Drexel’s Motion

                       a) Drexel’s Motion for Summary Judgment as to Sodexo Count V
                          (Breach of Contract)

        Drexel argues that this claim should fail because Sodexo made no demand for relief in

relation to this claim. Considering the substance of the claim, Drexel argues that it should still

fail because Sodexo cannot prove the requisite meeting of the minds to form the basis of a

contract. The alleged contract regarding increased daily board rates and reduced commissions

draws from correspondence in September 2016. Drexel asserts that Sodexo’s response expressed

its intention to terminate for cause effective immediately, without mention of Drexel’s initial

offer. Drexel argues that this does not constitute acceptance of an offer and cannot form the

basis of a contract.

        Additionally, Drexel contends that there was no consideration for the alleged contract

formed in September 2016. Sodexo continued providing dining services on campus for the

remainder of the semester, stating that it did so because the company does not abandon students

in the middle of a term. Sodexo, however, was still obligated to provide dining services for 60

days after Drexel’s notice of termination under the Management Agreement. Sodexo cannot

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claim to have a new contract formed based on the September 2016 correspondence when it was

already legally obligated to provide dining services by the terms of the Management Agreement.

                           b) Sodexo’s Response to Drexel’s Motion

          Sodexo disagrees with Drexel’s characterization of the communication between the two

companies in September 2016. Sodexo argues that Drexel’s letter, dated September 19,

constituted an offer which Sodexo accepted by both its conduct and by its reply letter dated

September 26. Sodexo argues that it is irrelevant whether the reply letter stated that Sodexo does

not abandon its students. Additionally, Sodexo asserts that it was only required to stay on

campus for 60 days after Drexel’s termination notice, i.e. only until November 19, 2016, but

instead remained on campus until December 10, 2016 in consideration for adjusted daily rates

and commissions. Therefore, Sodexo argues, it is entitled to the agree-upon compensation

calculated at the increased daily rates and decreased commissions. 8

                     (2) Briefing with Respect to Sodexo’s Motion

                           a) Sodexo’s Motion for Summary Judgment as to Sodexo Count V
                              (Breach of Contract)

          Sodexo also seeks summary judgment on Count V (breach of contract). Sodexo asserts

that it accepted Drexel’s offer of modified terms concerning the increased board rate and the

decreased commission in a letter dated September 26, 2016. As to the remaining damages

associated with the breach of contract claim, Sodexo asserts that the deposition testimony of Rita

LaRue indicates Drexel’s admission that it owes these costs.

                           b) Drexel’s Response

          Concerning the daily board rates and reduced commission, Drexel reiterates that Sodexo
8
    Drexel’s reply brief does not raise any additional points meriting discussion here.
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never made a demand for relief on this claim; that no contract was formed because Sodexo

rejected Drexel’s September 19 offer by Sodexo’s September 26 letter and subsequent suit; and

that Sodexo provided no consideration for the alleged contract because Sodexo was already

obligated to remain on campus for at least 60 days.

          Concerning outstanding contractual interest, Drexel argues that Sodexo is not entitled to

summary judgment because Sodexo has not produced evidence showing that the alleged late fees

are connected to any invoice that Drexel received. Further, Drexel asserts that the invoices were

inaccurately calculated using rates other than those agreed upon, and that Sodexo failed to

provide the required itemizations and back-up. Drexel asserts that these are disputed issues of

material fact that cannot be determined on summary judgment.

          Concerning the student labor wages, the inventory invoices, and the dining dollars,

Drexel asserts that Sodexo actually owes Drexel for rolled-over dining dollars, and that the

amount Drexel allegedly owes is dwarfed by the amount that Sodexo owes Drexel due to

Sodexo’s own breaches. Thus, Drexel argues that summary judgment cannot be granted to

Sodexo on these claims while the net amount owed is yet undetermined.

          Concerning attorneys’ fees, Drexel asserts that Sodexo is not entitled to attorneys’ fees,

and certainly not on summary judgment, because section 10.12 of the Management Agreement

indicates that such costs may only be recovered in a collections action or when enforcing an

indemnity obligation. As this suit falls into neither category, Drexel asserts that Sodexo is not

entitled to these fees. 9




9
    Sodexo’s reply brief does not raise any additional points meriting discussion here.
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                 (3) Analysis of Cross-Motions for Summary Judgment as to Sodexo Count
                     V (Breach of Contract)

       This breach of contract claim involves alleged breaches of both the Management

Agreement and a later alleged agreement formed in September 2016 (the “2016 Agreement”).

       The Court begins by analyzing the alleged 2016 Agreement.

                       a) The Alleged 2016 Agreement

       The only two documents that inform the alleged 2016 Agreement are: (1) a letter dated

September 19, 2016 from Drexel’s legal counsel to Sodexo’s legal counsel (ECF 130-1, “Def.

9/19 Letter”); and (2) Sodexo’s counsel’s response letter on September 26, 2016. (ECF 130-9,

“Pla. 9/26 Letter”).

       The September 19, 2016 letter, sent from Drexel to Sodexo, is excerpted below:

               Drexel’s duty is to its student community. To meet this obligation,
               Drexel must have some reasonable degree of certainty about the
               future of its food service operations, which are a crucial
               component of the world-class student experience Drexel works to
               provide very day. Drexel certainly cannot meet its obligations to
               its students while laboring under an ongoing threat that its food
               service provider of over 20 years will cease operations on a mere
               10 days’ notice, in the middle of a term, based on a fabricated legal
               theory. Rather, Drexel must attempt to control its future and to
               create certainty. Accordingly, and regretfully, Drexel hereby
               exercises its right to termination for convenience under Section
               3.1.C, effective December 10, 2016. While Drexel is required to
               provide only 60 days’ notice, it is providing as much notice as
               possible as part of its continuing good faith towards [Sodexo].

               Given the primary obligation we collectively have to meet the
               needs of our students and other affected constituencies, especially
               now that the fall term has just begun, please be clear that Drexel
               fully expects [Sodexo] to comply with its obligations and reserves
               its rights to seek injunctive and monetary relief from the courts as
               it deems necessary. However, in a further extension of good faith,
               and provided [Sodexo] performs the services under the Agreement

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               through December 10, 2016, Drexel will pay [Sodexo] an
               increased daily rate of $22.44 (for the all-inclusive plans) and
               accept a reduced commission of 7.75% for the period between
               today’s date and December 10, 2016, and will forego any
               additional capital investment otherwise due under the Agreement.

       Sodexo’s response letter, sent on September 26, 2016, is excerpted below:

               I write regarding Sodexo’s July 25, 2016 Notice of Default to
               Drexel for failure to pay amounts due under the Agreement. As I
               wrote in my letter dated September 1, 2016, as an act of good faith,
               Sodexo was willing to further extend the cure period to September
               30, 2016. Having now received your letter dated September 19,
               2016, in which Drexel purports to exercise its right to terminate the
               Agreement for convenience, Sodexo intends to end the cure period
               at the close of business, and hereby exercises its right to terminate
               the Agreement for Cause effective at the end of today. Because
               Sodexo does not leave students in mid-term, Sodexo agrees to
               remain on campus through December 10, 2016.

       Under Pennsylvania Law, “[i]t is well-established that three elements are necessary to

plead a cause of action for breach of contract: (1) the existence of a contract, including its

essential terms, (2) a breach of the contract; and, (3) resultant damages.” Meyer, Darragh,

Buckler, Bebenek & Eck, P.L.L.C. v. Law Firm of Malone Middleman, P.C., 635 Pa. 427, 445

(2016). Drexel disputes that Sodexo has proven the first element above, asserting that no

contract was ever formed between the parties in September, 2016.

       It is “fundamental contract law” that one cannot be liable for a breach of contract unless

one is a party to that contract. Electron Energy Corp. v. Short, 408 Pa. Super. 563, 567

(1991), aff'd, 618 A.2d 395 (1993). A contract is formed when the parties to it (1) reach a

mutual understanding, (2) exchange consideration, and (3) create sufficiently definitive terms.

Channel Home Centers, Div. of Grace Retail Corp. v. Grossman, 795 F.2d 291, 298–99 (3d Cir.

1986). Drexel disputes the existence of a binding contract, on the grounds that the parties never:

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(1) reached a mutual understanding; nor (2) exchanged consideration. (See Def. MSJ, at 24).

                            i. Meeting of the Minds

       Mutual understanding, or a meeting of the minds, is demonstrated by an offer of certain

terms and an acceptance of those terms. Martin v. Pennsylvania Turnpike Comm’n, 381 Pa. 67,

71 (1955).    Certain conduct may constitute an offer and acceptance if “what the parties did

pursuant to [the] offer shows conclusively that [the offer] was accepted.” Gum, Inc. v. Felton,

341 Pa. 96, 102 (1941). Particularly relevant to determine the existence of a contract are any

“words or conduct of the offeree” indicating that “the offeree intends not to accept the offer,”

constituting a rejection of the original offer. Smaligo v. Fireman’s Fund Ins. Co., 432 Pa. 133,

139 (1968).

       In its letter dated September 19, Drexel stated that it was terminating the Management

Agreement for convenience under section 3.1.C, effective December 10, 2016. (See Def. 9/19

Letter, at 2). Drexel noted that, though it was only required to give 60 days’ notice, it was

providing more as a part of its continuing good faith toward Sodexo. (Id.). Drexel clarified that

it expects Sodexo to fully comply with its obligations, but went on to say that, “in a further

extension of good faith, and provided [Sodexo] performs the services under the Agreement

through December 10, 2016, Drexel will pay [Sodexo] an increased daily rate of $22.44 . . . and

accept a reduced commission of 7.75% for the period between today’s date and December 10,

2016.” (Id.). Sodexo’s response did not conclusively indicate an agreement of those terms,

noting that while Drexel “purports” to terminate for convenience, Sodexo exercised its “right to

terminate the Agreement for Cause effective at the end of today.” (Pla. 9/26 Letter). Sodexo

stated that it would “[agree] to remain on campus through December 10, 2016” because it “does

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not leave students in mid-term.”        (Id.).   Sodexo’s letter mentions nothing of the rate

modifications that Drexel offered. (Id.). The words of Sodexo’s response, particularly the

assertion that Sodexo was terminating for cause effective at the end of the day, would indicate

that Sodexo did not accept the terms of Drexel’s initial offer.          Therefore, this alleged

“agreement” lacked the requisite meeting of the minds.

       As to whether Sodexo’s September 26 letter terminated the existing contract “for cause”

while simultaneously accepting Drexel’s offer to stay on campus until December 10, the Court

notes that Sodexo’s letter was transmitted at a time that termination was not yet finalized. In

fact, Sodexo itself wrote that it “intend[s] to end the cure period at the close of business . . .

effective at the end of today.” (Pla. 9/26 Letter). Thus, even under Sodexo’s understanding of

events, Drexel still had the right to “cure” any alleged deficiencies that created the “Cause” for

which Sodexo terminated the Management Agreement. Had Drexel effectuated a “cure,” such

as, assuming Sodexo thought it sufficient, by waiving all capital investment requirements, the

Management Agreement would have continued.

       There was no meeting of the minds as to the terms which Drexel proposed in its

September 19 letter for Sodexo’s rates and commissions. Sodexo may not accept some terms,

reject others, and then assert that an agreement conclusively existed.

                            ii. Consideration

       Further, even if the court were to find that the correspondence indicates a meeting of the

minds, the letters exchanged between the parties in September, 2016 do not create a legally

enforceable contract because there was no consideration given for the changed terms. To form a

contract, “it is axiomatic that the performance of an act which one party is legally bound to

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render to the other party is not legal consideration,” “for if a person gets nothing in return for his

promise but that to which he is already legally entitled, the consideration is unreal.” Chatham

Communications v. General Press Corp., 463 Pa. 292, 297 (1975); In re Commonwealth Trust

Co. of Pittsburgh, 357 Pa. 349, 354 (1949).

       As Drexel noted in its letter, it fully expected Sodexo to fulfill its obligations that were

already in place under the Management Agreement. (See Def. 9/19 Letter, at 2; ECF 202-5,

“Man. Ag.”). The termination-for-convenience provision that Drexel invoked requires 60 days’

notice under section 3.1.C of the Management Agreement (See Man. Ag., at 5); Drexel gave over

80 days’ notice. (See Def. 9/19 Letter, at 2). Sodexo responded by invoking section 3.1.B, the

termination-for-cause provision, based on Drexel’s failure to make payments allegedly due under

the Management Agreement. (See Pla. 9/26 Letter; Man. Ag., at 4). The termination-for-cause

provision requires the non-breaching party to give notice of a failure to make payments and

provide a 10-day cure period, which can be extended upon a showing of good faith efforts by the

breaching party. (See Man. Ag., at 4). Sodexo alleged that the cure period had already extended

beyond 10 days, and that the company was entitled to terminate the Agreement effective that

day, September 26, 2016. (See Pla. 9/26 Letter).

       If the court had found that the September letters reflected a meeting of the minds, Sodexo

would have unequivocally agreed to the terms of Drexel’s offer, including the requirements

under 3.1.C that the non-terminating party fulfills its obligations under the Agreement until, at

the very least, the end of sixty days. See Delaware River Pres. Co. v. Miskin, 923 A.2d 1177,

1181–82 (Pa. Super. 2007) (“If a reply does not unequivocally accept the terms of an offer, then

no contract is formed.”). Problematically, Sodexo already had a pre-existing legal obligation

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under the Agreement to remain on campus for the duration of the Agreement; thus, the services

that Sodexo provided from September 19, 2016 until the end of the term cannot constitute

consideration to support a new contract. See In re Commonwealth Trust Co. of Pittsburgh, 357

Pa. at 354.

       Sodexo stayed on campus of its own accord, and cannot demand payment under terms

beyond those legally agreed-upon in the Management Agreement.               By asserting that the

“termination for cause” provision had been triggered, Sodexo failed to accept all terms of

Drexel’s offer. Then, when it chose to stay at Drexel through December 10, 2016 (despite,

according to its own letter, terminating for cause), Sodexo fulfilled its pre-existing legal

obligation to provide dining services to Drexel students.

       To the extent Sodexo’s Count V relies on the existence of a contract alleged to have been

formed through the September 2016 correspondence, it will be dismissed.

       The Court now turns to the additional claims in Sodexo Count V that are premised on

alleged breaches of the Management Agreement.

                         b) Sodexo Count V Continued: Claims Based on the Management
                            Agreement

       Sodexo alleges that it is owed, due to Drexel’s breaches of the Management Agreement:

              (1) student labor wages totaling $7,000;
              (2) inventory invoice expenses totaling $76,945.81;
              (3) dining dollars totaling approximately $75,000;
          (4) outstanding contractual interest (i.e., late fees) totaling $407,625.16; and
          (5) attorneys’ fees and court costs, the total of which is yet to be determined.

       With respect to items (1) and (2) above, Drexel has admitted that it owes Sodexo for

student labor wages and inventory invoice expenses. Sodexo will be granted summary judgment
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on those portions of Count V. (Drexel Resp. to Sodexo SOF ¶¶ 95-96).

       With respect to item (3) above, dining dollars rollover, Sodexo claims that Drexel

admitted it owes Sodexo $75,000. Drexel denies this characterization, citing to the relevant

deposition testimony. (Id. ¶ 97). Having reviewed the transcript, the Court will not grant

summary judgment as to dining dollars, because the testimony was not conclusive on this item.

       With respect to item (4) above, there are various disputed facts regarding contractual

interest, such that this portion of Count V cannot be resolved at this juncture. (See id. ¶¶ 91-94).

       Item (5) pertains to attorneys’ fees, and more specifically, § 10.12 of the Management

Agreement, which states:

               10.12 Collection Costs and Costs to Enforce Indemnity
               Obligations. The parties shall pay each other the reasonable
               collection expenses, attorneys’ fees and court costs incurred in
               collecting from each other any amount not paid when due, and/or
               in connection with the enforcement of an indemnity obligation of a
               party under this Agreement.

(Sodexo SOF Ex. 1)

       Drexel contends that the language of § 10.12 only provides for fees in collections actions

or when enforcing indemnity obligations. This is contrary to the plain language of the contract.

Sodexo’s claims, some of which have prevailed at summary judgment as described supra,

involved expenses “incurred in collecting” amounts that Drexel has admitted it owed Sodexo.

Thus, this argument fails.

       Drexel also contends that the amount it owes Sodexo is offset by the amount that Sodexo

owes Drexel, and therefore, that Drexel should not be liable for attorney’s fees. Because this

case remains ongoing, and the amounts justifiably owed to each party remain disputed, the Court


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will not grant summary judgment as to the attorney’s fees provision.




               (D) Drexel’s Claims against Sodexo

                 (1) Fraudulent Inducement (Drexel Count I)

       Count I of Drexel’s counterclaim alleges that Sodexo fraudulently induced Drexel into

awarding it the dining services contract (which then materialized by way of the Management

Agreement). By presenting a Best and Final Offer indicating that Sodexo could outperform

Aramark, Drexel contends that Sodexo misrepresented its ability and intention to actually

perform the contract. Drexel asserts that Sodexo knew of its inability to perform, and entered the

contract in order to keep its large account with Drexel, with a hidden plan to renegotiate the

terms at a later time by demanding substantial concessions. Drexel claims damages exceeding

$1 million arising from the transition costs from Sodexo to Aramark; the loss of contracted-for

investment money due to the breach of the Sodexo contract and Drexel’s weakened bargaining

power with Aramark; and the costs of litigating this suit.

                       a) Sodexo’s Motion

       Procedurally, Sodexo asserts that Pennsylvania’s two-year statute of limitations

governing common law fraud bars Count I. Even if the court allowed the amended counterclaim

to relate back to the original filing date on January 27, 2017, Drexel asserts that the alleged fraud

took place and should have been discovered before January 27, 2015.

       Substantively, Sodexo first argues that Count I should be dismissed because the alleged

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fraud dealt with awarding the dining services contract to Sodexo, which was not itself a contract.

Rather, it was a preliminary agreement pending further negotiations, which Sodexo argues

cannot support a claim of fraudulent inducement into a contract. Second, Sodexo asserts that

Count I fails because Drexel cannot establish the essential elements of fraudulent inducement,

including justified reliance and the actual falsity of alleged misrepresentations. Third, Sodexo

argues that this claim is barred by the gist of the action doctrine and, fourth, that it is precluded

due to Drexel’s failure to provide its Statement of Damages in accordance with the requirements

set by the court in October 2017.

                       b) Drexel’s Response

        Drexel responds to Sodexo’s procedural argument by asserting that both the discovery

rule and the doctrine of fraudulent concealment tolled the statute of limitations until April 28,

2017. At that point, Drexel asserts that it learned through Sodexo’s initial document production

that Sodexo never intended to fulfill the promises in its Initial Proposal or its Best and Final

Offer, and that Sodexo knew Drexel’s growth plans would not increase the freshmen class until

2017.    Additionally, Drexel notes that it had no reason to believe Sodexo was falsely

representing its understanding of the student growth plan or that Sodexo had lied at any point in

their twenty-year relationship.     Drexel asserts that Sodexo’s actions to actively conceal its

fraudulent misrepresentations preclude Sodexo from invoking the statute of limitations as a

defense. Drexel contends there is no basis to conclude as a matter of law that Drexel knew or

should have known about Sodexo’s fraudulent actions before April 28, 2017, and therefore,

Drexel timely filed its amended counterclaim within the statute of limitations.

        Drexel further argues that Sodexo has distorted Drexel’s claim by focusing on whether

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the award of the dining services contract is itself a contract. Drexel contends that it justifiably

relied on Sodexo’s misrepresentations in awarding Sodexo, as opposed to Aramark, the dining

services contract and in negotiating with Sodexo until September, 2016. Drexel claims it was

unable to negotiate with Aramark to receive the same terms put forth in Aramark’s Initial

Proposal and Best and Final Offer, and Drexel seeks to recover the difference between

Aramark’s Best and Final Offer and the contract that was ultimately executed.

          Moreover, Drexel argues that its reliance on Sodexo’s false statements was wholly

justified. Drexel asserts that, while Sodexo knew of the decreasing freshmen enrollment, Drexel

could not have known that Sodexo’s representations of misunderstanding were false; thus, it

cannot be determined as a matter of law that Drexel’s reliance was unjustified.

          Drexel also contends that the gist of the action doctrine does not bar its fraud claim

because it is not seeking the benefit of commitments made in the Management Agreement.

Rather, Drexel seeks to recover reliance damages caused by Sodexo’s false claims during the

bidding process which induced Drexel to award Sodexo, rather than Aramark, the dining services

contract. Further, Drexel claims, the gist of the action doctrine does not bar fraud claims based

on false promises to continue a relationship. Drexel asserts that the gist of the action doctrine

bars Sodexo’s fraud claim, but not Drexel’s, because, while Sodexo’s claim concerns student

growth requirements—which were thoroughly negotiated and explicitly written into the

contract—Drexel’s claim concerns Sodexo’s misrepresentation that it had misunderstood the

student growth plan, and is thus based on Sodexo’s Initial Proposal and Best and Final Offer. 10




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     Sodexo’s reply brief does not add any new argument meriting discussion here.
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                       c) Analysis

       As discussed supra, the parol evidence rule serves as a bar to fraudulent inducement

claims in Pennsylvania. Drexel claims that it was harmed by awarding Sodexo the dining

services contract, but no firm commitment to Sodexo was made until the Management

Agreement materialized. Because the actual harm to Drexel occurred with the signing of the

Management Agreement, which as discussed supra is fully integrated and unambiguous, any

representations made in the Best and Final Offer, or otherwise occurring prior to the

Management Agreement, are barred from this Court’s consideration.

       Moreover, the “gist of the action” doctrine serves as a further bar to Drexel’s fraudulent

inducement claim. Also discussed supra in great detail, the gist of the action doctrine bars fraud

claims where the alleged liability “stems from a contract.” eToll, 811 A.2d at 19. The liability

Drexel alleges is clearly derived from the fact that the parties entered into the Management

Agreement on terms that were “worse” for Drexel than the Best and Final Offers made by

Sodexo and Aramark. Thus, this case also fits within the realm of cases where the “gist of the

action” doctrine barred a fraud claim because the liability alleged as part of the fraud claim arose

from a contractual obligation and/or breach. See id. (collecting cases).

       Count I of Drexel’s counterclaims must be dismissed.




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              (E) Breach of Contract (Drexel Count II)

       Count II of Drexel’s counterclaim alleges that Sodexo breached various provisions in the

Management Agreement by:

       (1) Failing to fill the Key Management Positions of Executive Chef and Retail General
           Manager within the 120-day limit as set by §4.8(D) of the Management Agreement;
       (2) Failing to provide $230,000 in monetary support as laid out in §§ 8.8–8.14;
       (3) Failing to secure any appearances by Mr. Johnson in Fiscal Year 2015 and only one
           appearance in Fiscal Year 2016, violating § 8.15; and
       (4) Failing to provide Drexel with KPI compliance data, pursuant to §8.17, during the
           approximately 18 months of the Agreement, which Drexel additionally suspects
           Sodexo failed to meet entirely.

       Each allegation is addressed below.

                (1) Breach of Key Management Positions Clause

       The first part of Drexel’s breach of contract claim is that Sodexo failed to fill key

management positions within the 120-day limit, as required by § 4.8(D) of the Management

Agreement, which states:

              For any key management position that remains vacant beyond one
              hundred and twenty (120) days . . . SodexoMAGIC will pay to
              [Drexel] an amount equal to the weekly salary of the employee
              who most-recently occupied such vacant position until the position
              is filled. For the purposes of this Section, “key management
              positions” shall refer to the District Manager in Residence,
              Catering Director, Campus Executive Chef, HR Manager, General
              Manager of Residential Dining, and General Manager of Retail
              Operations. In the event that Sodexo is prevented from filling a
              vacant position by circumstances beyond its control, Sodexo shall
              provide notice to [Drexel] of the reason and the parties shall meet
              to discuss the matter in an effect to develop a mutually-agreeable
              solution.

(Sodexo SOF Ex. 1).

       Sodexo asserts that Drexel frustrated Sodexo’s ability to fill the Key Management
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Positions at issue, and in doing so materially breached the provision themselves. Therefore,

Sodexo argues that Drexel cannot prove damages from this alleged breach because other

additional hires meant that the vacancies did not affect operations.

        Drexel claims that Sodexo’s arguments regarding the Key Management Positions fail for

two reasons. To start, Drexel argues that it did not frustrate Sodexo’s ability to fill the positions;

it provided feedback but did not have veto power over the positions left empty.                    Further,

Sodexo’s claim regarding the lack of actual damages fails because the breached provision set

liquidated damages in advance as a reasonable approximation of the expected loss, which could

not be determined at the time the contract was signed.              The fact that Sodexo filled other

positions, Drexel argues, should not be considered when determining Sodexo’s breach of this

particular liquidated-damages provision.

        The Court concludes that there remain factual disputes regarding this provision. While

Sodexo is correct that a party to a contract may not frustrate its counterparty’s ability to comply

with any contractual provision, Benchmark Grp., Inc. v. Penn Tank Lines, Inc., 612 F. Supp. 2d

562, 580 (E.D. Pa. 2009), the extent to which Drexel frustrated Sodexo’s ability to fill Key

Management Positions remains disputed. 11

        As for Sodexo’s argument that Drexel has not proven damages, this argument altogether

ignores that the contract contains an explicit liquidated damages provision. A party need not

prove actual damages where the parties agree to a liquidated damages provision, and the sum

agreed to is a reasonable approximation of the expected loss. A.G. Cullen Constr., Inc. v. State


11
  Sodexo insists that “a strict reading of this provision would unjustly ignore the facts.” (ECF 229, at 9).
However, the Court notes that its “strict” reading of the contract is what excused Sodexo from its
obligation to produce Mr. Johnson twice per year. See supra.
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System of Higher Educ., 898 A.2d 1145, 1162 (Pa. Commw. Ct. 2006).

       This portion of Drexel’s breach of contract claim must proceed to trial.

                (2) Breach of Monetary Support Provisions

       Drexel also alleges that Sodexo failed to provide $230,000 in monetary support, as

required by §§ 8.8-8.14, which required Sodexo to pay:

                  •   $5,000 annually on June 30 to support student co-op opportunities (§8.8);
                  •   $50,000 annually on June 30 to sponsor the U.S. Open Squash
                      Championships (§8.9);
                  •   $25,000 annually on June 30 to support the Liberty Scholars Program
                      (§8.10);
                  •   $12,500 annually on June 30 to sponsor the Lindy Institute for Urban
                      Innovation (§8.11);
                  •   $25,000 annually on June 30 to sponsor the Drexel Childcare Center
                      (§8.12);
                  •   $12,500 annually on June 30 to sponsor the Center for the Study of Third
                      Space and Learning Environments (§8.13); and
                  •   $25,000 annually on June 30 to be used as mutually agreed by the parties
                      to establish a SodexoMAGIC Better Tomorrow Speaker Series (§8.14).

(Sodexo SOF Ex. 1).

       Sodexo claims that a proposal was made on August 18, 2016 by LaRue to release Sodexo

from $155,000 of liability during renegotiations, which Sodexo accepted on August 22, 2016.

As a result, Sodexo asserts that Drexel is estopped from raising a breach of contract claim based

on Sodexo’s failure to pay monetary support.

       Drexel argues that while Drexel did in fact offer to relieve Sodexo of liability regarding

payments due under sections 8.8–8.14 of the Management Agreement, Sodexo did not accept the

offer. Instead, Drexel asserts that Sodexo tried to cherry-pick the provisions it wanted to keep

and then reject the rest, which is not allowed under contract law. Sodexo made a counter-offer

on August 22, 2016, rejecting Drexel’s August 18, 2016 offer. Drexel asserts that it did not
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accept the counter-offer, and therefore, Sodexo is not excused from these payments.

        Both parties agree that Drexel’s August 18, 2016 email constituted an offer, but disagree

as to whether Sodexo’s email on August 22, 2016 constituted an acceptance. Sodexo’s email on

August 22, 2016 was written “into” the body of the August 18, 2016 email, such that Sodexo’s

responses appear immediately after each section of Drexel’s email. Therefore, to distinguish

between the text written by each party, reproduced in relevant part below, the text of Drexel’s

August 18, 2016 letter is in bold font, while the text of Sodexo’s August 22, 2016 letter is in

italic font.

                  In considering both the Drexel and SodexoMAGIC proformas
                  and in recognition of the changing landscape of higher
                  education, including a national focus on access and
                  affordability for students, Drexel would like to engage in a
                  collaborative process with SodexoMAGIC . . . . We propose
                  reviewing all aspects of the relationship . . . . Our goal would
                  be to have a new, mutually agreeable program in place for the
                  start of Fall 2018. SodexoMAGIC is always willing to review all
                  aspects of the dining program. . . .

               1. For 2016/17, Drexel would pay a daily rate of $21,45 for the all-
                  inclusive plans . . . . SodexoMAGIC proposes for 2016/17 Drexel
                  would pay a daily rate of $24.64 for the all-inclusive plans. . . .
               2. Effective July 1, 2016, the commission rate to Drexel would be
                  reduced from 9.75% to 7.75%. SodexoMAGIC agrees
               3. For 2016/17 and 2017/18, Drexel guarantee a minimum of
                  6,480 all-inclusive [] plans sold . . . . Based on the descriptive
                  language, SodexoMAGIC assumes this includes voluntary meal
                  plan purchases . . . is that assumption correct?
               4. Effective Fall 2016-Spring 2017, the hours of operation would
                  be . . . . SodexoMAGIC agrees
               5. Drexel would agree to release SodexoMAGIC from the
                  requirement to make the payments totaling $80,000 listed in
                  Sections 8.7 [], 8.10 [], 8.11 [], 8.12 [], 8.13 [], as well as $75,000
                  in funds that were to have been made available listed in Section
                  8.8 [] and 8.12 [] for a grand total of $155,000 that were due to
                  Drexel on June 30, 2016 per the Agreement. Drexel also would

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              agree that these payments will be discontinued going forward
              as of July 1, 2016, with the exception of the payment required
              per Section 8.9 [], which shall continue to be required in
              accordance with the terms of the Agreement. SodexoMAGIC
              agrees.
           6. Drexel would agree to the SodexoMAGIC proposed future
              capital investment of $1,000,000 for the Handschumacher
              Dining Center and $250,000 for National Brands Refresh. . . .
              Due to the additional reduction in the number of students and in an
              effort to keep the rates as low as possible, SodexoMAGIC believes
              that no more capital is warranted at this time. . . .
           7. Drexel would extend the length of the Agreement by five (5)
              years to 2030. SodexoMAGIC agrees
           8. Drexel will not reimburse SodexoMAGIC for any proforma
              shortfalls in operating results. SodexoMAGIC does not agree
              that this is a proforma shortfall. . . . SodexoMAGIC does expect
              Drexel to address this issue. SodexoMAGIC also understands that
              Drexel may have a cash flow issue and is willing to accept any of
              the following three options: . . .

(Sodexo SOF Ex. 53).

       The question of whether Drexel and Sodexo reached an agreement to release Sodexo

from monetary support liability requires a simple contract analysis. In order to form a contract,

there must be an offer, acceptance, and consideration or mutual meeting of the minds. Jenkins v.

County of Schuylkill, 441 Pa. Super. 642, 648, allocatur denied, 542 Pa. 647 (1995). An alleged

acceptance of an offer is not unconditional and, therefore, is not an “acceptance” if it materially

alters the terms of the offer. Thomas A. Armbruster, Inc. v. Barron, 341 Pa. Super. 409, 419

(1985) (citing 1 A. Corbin, Corbin on Contracts § 82 (1963)). As such, a reply which purports to

accept an offer, but instead changes the terms of the offer, is not an acceptance, but, rather, is a

counter-offer, which has the effect of terminating the original offer. First Home Sav. Bank, FSB

v. Nernberg, 436 Pa.Super. 377, 389 (1994), allocatur denied, 540 Pa. 620 (1995). Further, it is

well established that the acceptance of any offer or counter-offer must be “unconditional and

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absolute.” O'Brien v. Nationwide Mut. Ins. Co., 455 Pa. Super. 568, 577 (1997).

          Sodexo characterizes Drexel’s letter as a series of offers, and thus asserts that Sodexo’s

letter “unconditionally and absolutely accepted many of the offers in Drexel’s letter.” (ECF 229,

at 10).     However, Drexel’s letter was clearly not a series of distinct offers, but rather a

comprehensive set of proposed contractual terms. In other words, although parties may “agree”

with one another on specific contractual terms over the course of contract negotiations, there is

no overarching “agreement” between the parties. Sodexo may not simply pick and choose

specific terms and then claim the parties were bound by them. See Shaer v. Orthopaedic

Surgeons of Cent. Pa., Ltd., 938 A.2d 457, 463 (Pa. Super. Ct. 2007).

          This portion of Drexel’s breach of contract claim must proceed to trial.

                   (3) Breach of Provision for Visits from “Magic” Johnson

          Drexel also alleges that Sodexo failed to secure appearances from “Magic Johnson,” as

required by § 8.15 of the Management Agreement, which states:

                 8.15 Campus Visits by Earvin “Magic” Johnson. Mr. Johnson
                 shall appear on Client’s campus (or mutually agreed upon location)
                 as mutually agreed by the parties for up to two (2) 90-minute
                 speaking engagements annually during the term of this Agreement
                 provided that the appearance dates can be mutually agreed upon by
                 the parties. At the time of the request, Client shall propose a
                 minimum of three (3) dates for consideration and approval subject
                 to Mr. Johnson’s availability and provide a proposed agenda for
                 Mr. Johnson’s review and consideration. Any such request shall
                 be made a minimum of twelve (12) weeks in advance.

(Sodexo SOF, Ex. 1).

          Sodexo contends that the clause does not require Mr. Johnson to participate in any fixed

number of visits per year because the contract specifies that his visits are to be made “up to two”


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times per year. Additionally, Sodexo asserts that the visits were to be set according to mutually

agreed upon dates, and Drexel did not claim that Sodexo failed to attempt to arrange

appearances.

        Drexel asserts that the appearances by Mr. Johnson were prominently featured in

Sodexo’s Best and Final Offer and were valued by Sodexo at $150,000 per year. Drexel also

contends that Sodexo failed to reciprocate Drexel’s substantial efforts to coordinate a campus

visit for Mr. Johnson.

        The Court finds that, by its plain terms, the provision does not require Mr. Johnson to

appear for any speaking engagements whatsoever.            The phrase, “up to two visits” is

unambiguous, and it includes the number zero. See In re Mochel, 470 F.2d 638, 640 (C.C.P.A.

1972) (the phrase “up to” includes zero as the lower limit).           Drexel is a sophisticated

counterparty that could easily have changed this contractual term to state that Mr. Johnson was

required to appear once or twice per year. In the absence of such a contractual term, the Court

declines to infer it.

        This portion of Drexel’s breach of contract claim will be dismissed.

                  (4) Breach for Failure to Discuss Key Performance Indicators

        The final component of Drexel’s breach of contract claim is that Sodexo failed to provide

Drexel with Key Performance Indicator (“KPI”) data, in violation of § 8.17 of the Management

Agreement, which states, in relevant part:

                8.17 Measurable Outcomes. SodexoMAGIC shall be evaluated
                using mutually agreed upon Key Performance Indicators (KPIs) set
                forth in Exhibit J which shall be used to monitor SodexoMAGIC
                performance and [Drexel] patron satisfaction. The KPIs shall be
                reviewed annually by the parties during the Annual Business

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               Review and the parties may mutually agree on changes in the
               KPIs.

               If during any Contract Year, SodexoMAGIC does not meet an
               agreed upon KPI, SodexoMAGIC agrees to pay to [Drexel], upon
               [Drexel’s] request, the designated portion of the One Hundred
               Thousand Dollars ($100,000) for such KPI within thirty (30) days
               after the parties, acting reasonably and in good faith, mutually
               determine that the KPI has not been met.

(Sodexo SOF, Ex. 1).

       Sodexo asserts that Drexel cannot claim damages for breach of Key Performance

Indicators, because Drexel did not actually determine that Sodexo failed to meet these

provisions.

       Drexel counters that Sodexo’s motion for summary judgment should fail because Sodexo

withheld the data that Drexel seeks. Drexel argues that Sodexo cannot now benefit from its

actions frustrating Drexel’s ability to determine whether Sodexo met the KPIs as outlined in the

Management Agreement.

       The provision in question, quoted above, requires two conditions precedent before

Sodexo must pay Drexel for any failure to meet a designated KPI. First, the parties must, while

“acting reasonably and in good faith, mutually determine that the KPI has not been met.” (Id.).

Second, Drexel must make a request for the payment to which it is entitled. Neither of those

conditions precedent was fulfilled.

       Drexel claims that Sodexo has “unilaterally prevent[ed] the performance of a condition

upon which [its] own liability depends,” and now attempts to “capitalize on that failure.”

Benchmark Grp., 612 F. Supp. 2d at 580. However, Drexel overlooks the actual language of the

contract, which requires the parties to mutually determine that a KPI has not been met. Thus,

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Sodexo did not unilaterally prevent the parties from finding that a KPI had not been met.

       It is not sufficient for Drexel to state that Sodexo “never provided this information to

Drexel for use at an annual business review and never scheduled such a review so the parties

could evaluate” the KPIs. (Drexel SOF Ex. 74). However, the contract does not require that

Sodexo provide KPI information or schedule a review.           Instead, the contract imposes a

requirement that both parties meet to discuss the KPI data. Because this was a mutual obligation,

shared equally by Drexel, Drexel cannot assert a breach of contract claim without affirmative

evidence that Sodexo actually “prevent[ed] the performance of [the] condition upon which [its]

own liability depends.” Benchmark Grp., 612 F. Supp. 2d at 580.

       This portion of Drexel’s breach of contract claim will be dismissed.




               (F) Drexel’s Motion for Summary Judgment as to Sodexo Count III (Unjust
                   Enrichment)

       The Court now turns to Sodexo’s Counts III and IV, having postponed its discussion of

both counts in order to inform its discussion using conclusions drawn with respect to the other

claims presented in this case.

       Count III of Sodexo’s complaint alleges that Drexel benefitted from Sodexo’s actions—

specifically Sodexo’s providing dining services below the intended rate and assuming the

pension liability of workers—and that Drexel appreciated and retained those benefits. Sodexo

argues that it would be inequitable to allow Drexel to retain those benefits without paying their

value to Sodexo.
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                   (1) Parties’ Contentions

       Drexel asserts that the unjust enrichment claim is foreclosed by the fact that the parties’

relationship was established in, and wholly defined by, the contract.

       Sodexo admits that it is not permitted to receive double recovery under both the breach of

contract and unjust enrichment claims, but asserts that it is permitted to plead in the alternative a

claim for unjust enrichment. Sodexo argues that Drexel has benefited from its fraudulent actions

and that Sodexo could receive damages under the equitable doctrine of unjust enrichment,

through which the law would imply a contract where no express contract exists.

                   (2) Analysis

       Unjust enrichment claims under Pennsylvania law fall into one of two categories: (1) a

quasi-contract theory of liability, in which case the unjust enrichment claim is brought as an

alternative to a breach of contract claim; or (2) a theory based on unlawful or improper conduct

established by an underlying claim, such as fraud, in which case the unjust enrichment claim is a

companion to the underlying claim. See, e.g., Zafarana v. Pfizer, Inc., 724 F.Supp.2d 545, 561

(E.D.Pa.2010) (dismissing the plaintiff's unjust enrichment claim because (1) the plaintiff did not

allege that the defendant refused to provide a service or good after securing a benefit, and (2) the

plaintiff did not “plead a separate tort, the damages from which could be supported by a theory

of unjust enrichment”); Torchia v. Torchia, 346 Pa.Super. 229, 233 (1985) (“To sustain a claim

of unjust enrichment, a claimant must show that the party against whom recovery is sought either

wrongfully secured or passively received a benefit that it would be unconscionable for her to

retain.” (citation omitted)). Under either theory, the requisite circumstances exist to establish

that the defendant has been “unjustly enriched.”

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       As to the first theory, an unjust enrichment claim based on a theory of quasi-contract may

be pled as an alternative to a breach of contract claim. Lugo v. Farmers Pride, Inc., 967 A.2d

963, 970 (Pa. Super. Ct. 2009). A quasi-contract theory is “typically invoked . . . when [the]

plaintiff seeks to recover from [the] defendant for a benefit conferred under an unconsummated

or void contract.” Steamfitters Local Union No. 420 Welfare Fund v. Philip Morris, Inc., 171

F.3d 912, 936 (3d Cir. 1999). As such, the doctrine does not apply where a written or express

contract exists. Lackner v. Glosser, 892 A.2d 21, 34 (Pa. Super. Ct. 2006).

       With respect to the second theory, an unjust enrichment claim may be pled as a

companion, not an alternative, to a claim of unlawful or improper conduct as defined by law—

e.g., a tort claim. “In the tort setting, an unjust enrichment claim is essentially another way of

stating a traditional tort claim (i.e., if defendant is permitted to keep the benefit of his tortious

conduct, he will be unjustly enriched).” Steamfitters, 171 F.3d at 936.          Where the unjust

enrichment claim rests on the same improper conduct as the underlying tort claim, the unjust

enrichment claim will rise or fall with the underlying claim. See, e.g. id. at 937 (dismissing the

plaintiff's unjust enrichment claim because it was based on the same improper conduct as the

plaintiff's traditional tort claims, which were dismissed for lack of proximate cause). In other

words, unlike the quasi-contract theory of unjust enrichment, which acts as an equitable stand-in

for a failed breach of contract claim, an unjust enrichment claim based on wrongful conduct

cannot stand alone as a substitute for the failed tort claim. Zafarana, 724 F.Supp.2d at 561; see

also In re Avandia Mktg., Sales, Practices & Prods. Liab. Litig., No. 07-md-01871, 2013 WL

3486907, at *3 (E.D. Pa. July 10, 2013); Tatum v. Takeda Pharm. N. Am., Inc., No. 12-cv-1114,

2012 WL 5182895, at *4 (E.D. Pa. Oct. 19, 2012).

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       During oral argument, Sodexo claimed that its unjust enrichment claim was based on an

agreement allegedly formed through correspondence with Drexel in September 2016 (the

aforementioned “2016 Agreement”):

               The Court:    Well, are you limiting Count 3 then to that
                             exchange in September of 2016?

     Counsel for Sodexo:     Yes, Your Honor, because we have an enforceable
                             contract, so --
                             ...
               The Court:    Well, wait a minute. . . . I thought you were – your
                             Count 3 was in part alleging that if the Court were
                             to find that there was no breach, that is that the gist
                             of the action doctrine barred your tort claim and
                             there was no breach under Count 2, that you were
                             relying on an unjust enrichment theory for the same
                             damages that you would have been able to – that
                             you allege were due under Counts 1 or 2. Am I not
                             right?

     Counsel for Sodexo:     I don’t believe so, Your Honor, --

(ECF 243, at 39-40).

       Despite Sodexo’s representations at oral argument, Sodexo unmistakably bases Count III

of its complaint, as pled, on Drexel’s allegedly fraudulent statements (i.e., not on any contract

formed in September, 2016). (See Compl. ¶ 97 (“Relying on Drexel’s statements about its

student population, SodexoMAGIC agreed to assume certain pension liabilities of workers on

Drexel’s campus, and agreed to provide campus dining services far below the intended rate.”)

(emphasis added)). Nowhere in Sodexo’s complaint is there any allegation that a quasi-contract

was formed, nor is there any allegation that Drexel was unjustly enriched by receiving campus

dining services with commissions and rates that had been promised in any correspondence in

September, 2016. Instead, all of Sodexo’s alleged payments were in reliance “on Drexel’s

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statements about its student population.” (Id.). 12 There is no doubt that Sodexo’s claim, as pled,

is grounded in tort.

       In this case, because Sodexo’s Count I, clearly a tort claim, will be dismissed for the

reasons stated supra, Sodexo’s claim for unjust enrichment cannot proceed as pendant to a tort

theory. And because Sodexo did not plead any unjust enrichment claim based on the formation

of an implied contract (i.e., a quasi-contract), Sodexo may not pivot to such a theory at this stage

in the litigation. See, e.g., Soo Line R. Co. v. St. Louis Southwestern Ry. Co., 125 F.3d 481, 483

(7th Cir. 1997) (noting “the well-settled rule that a party is bound by what it states in its

pleadings).

       Nonetheless, assuming Sodexo had properly raised an implied contract theory of unjust

enrichment, Sodexo has not shown any genuine issue of material fact as to whether Drexel has

retained benefits under circumstances that are inequitable. See Styer v. Hugo, 422 Pa. Super.

262, 268 (“[T]he most significant element of the doctrine is whether the enrichment of the

defendant is unjust.”); see also Mitchell v. Moore, 729 A.2d 1200, 1203 (Pa. Super. 1999).

       As detailed supra during the Court’s discussion of Count V, and undisputed by the

parties, Sodexo and Drexel formed a contract through the Management Agreement. Later, after

the decline in student enrollment at Drexel was fully recognized by both parties, Drexel made a

letter offer to Sodexo to provide a reduced commission and greater fees than provided for in the

Management Agreement. (Sodexo Resp. to Drexel SOF ¶ 124) Sodexo’s response reflected no

meeting of the minds (and no consideration), and thus no contract was formed. (See supra,

Count V). Although it is undisputed that Sodexo subsequently provided dining services to
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  By Sodexo’s own admission, Sodexo was aware long before September, 2016, of the decline in
Drexel’s student enrollment for the 2016-2017 academic year. (See, e.g., Drexel SOF Ex. 3-20).
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Drexel and its students through December 10, 2016 (Drexel Resp. to Sodexo SOF ¶ 90), thereby

providing Drexel a benefit, even in the absence of any legally effective novation or quasi-

contract, the undisputed facts have shown that Drexel paid for Sodexo’s services at the

commission and rate amounts set forth in the Management Agreement. See Wilson Area Sch.

Dist. v. Skepton, 586 Pa. 513, 520 (2006) “([I]t has long been held in this Commonwealth that

the doctrine of unjust enrichment is inapplicable when the relationship between parties is

founded upon a written agreement or express contract. . . .”).

       There is no inequity associated with this set of facts, especially in light of Sodexo’s full

opportunity to accept, but decision to reject, Drexel’s proposal for the reduced commissions and

increased rates that Sodexo now seeks through this litigation.

       Count III will be dismissed.




               (G) Drexel’s Motion for Summary Judgment as to Sodexo Count IV (Punitive
                   Damages)

       Sodexo alleges in Count IV of its Complaint that Drexel should be assessed punitive

damages in order to deter others from replicating Drexel’s “outrageous conduct” in the future.

       Under Pennsylvania law, punitive damages cannot be claimed independently, but are a

“mere incident to [another] cause of action.” See Feingold v. Southeastern Pennsylvania Transp.

Authority, 512 Pa. 567, 579 (1986). Pennsylvania law also dictates that “punitive damages are

not recoverable in an action solely based upon breach of contract.” Nicholas v. Pennsylvania


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State Univ., 227 F.3d 133, 147 (3d Cir. 2000). Instead, “[p]unitive damages are collateral or

ancillary to a tort claim.” Baker v. Pennsylvania Nat. Mut. Cas. Ins. Co., 522 Pa. 80, 84 (1989).

Sodexo’s only tort claim against Drexel is Count I, for fraudulent inducement, which this Court

dismisses for the reasons set forth supra. Therefore, Count IV must also be dismissed. See id.

      V.      Conclusion

        Pursuant to the Court’s discussion above, Drexel’s Motion to Strike (ECF 208) will be

GRANTED IN PART AND DENIED IN PART, Sodexo’s Motion to Strike (ECF 221) will be

DENIED, Drexel’s Motion for Summary Judgment (ECF 220) will be GRANTED IN PART

AND DENIED IN PART, and Sodexo’s Motion for Summary Judgment (ECF 200, 204) will be

GRANTED IN PART AND DENIED IN PART.

        As a result, and as detailed above, Counts I, II, III, and IV of Sodexo’s Complaint will be

DISMISSED, Count V of Sodexo’s Supplemental Complaint will be PARTIALLY

DISMISSED, Count I of Drexel’s Counterclaims will be DISMISSED, and Count II of Drexel’s

Counterclaims will be PARTIALLY DISMISSED.

        An appropriate Order follows.




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